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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                       Case No.: 1:19-cv-23225


    CINDY DIFFENDERFER,

               Plaintiff,

    vs.                                                             COMPLAINT

    NGD HOMESHARING, LLC, a Florida
    limited liability company, and HARVEY
    HERNANDEZ, individually,

            Defendants.
    ____________________________________/


          Plaintiff, CINDY DIFFENDERFER (“DIFFENDERFER”), by and through the

  undersigned counsel, hereby sues Defendants NGD HOMESHARING, LLC, a Florida limited

  liability    company      (“NGD      HOMESHARING”),            and     HARVEY         HERNANDEZ

  (“HERNANDEZ”), individually, (collectively, “DEFENDANTS”), and further states:

                            JURISDICTION, PARTIES, AND VENUE

          1.     This Court has original jurisdiction to hear this complaint and to adjudicate the

  claims stated herein under 28 U.S.C. § 1331, as this action is brought under the Computer Fraud

  and Abuse Act, 18 U.S.C. § 1030. This Court also has supplemental jurisdiction for the state law

  claims pursuant to 28 U.S.C. § 1367.

          2.     At all times material, Plaintiff CINDY DIFFENDERFER was and is a resident of

  Miami-Dade County, and is sui juris.

          3.     At all times material Defendant HARVEY HERNANDEZ was and is a resident of

  Miami-Dade County, and is sui juris.



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         4.      DIFFENDERFER and Defendant HERNANDEZ are co-founding partners and

  members of Defendant, NGD HOMESHARING.

         5.      At all times material, Defendant HERNANDEZ is the sole manager of NGD

  HOMESHARING.

         6.      At all times materials, Defendant, NGD HOMESHARING was a Florida limited

  liability company authorized to do and doing business in Florida.

         7.      Venue properly lies in Miami-Dade County as DEFENDANTS reside therein, all

  acts and omissions giving rise to these claims occurred in Miami-Dade County, and Defendant

  NGD HOMESHARING has its principal place of business in Miami-Dade County. Further, the

  2017 Operating Agreement executed by the parties identifies Miami-Dade County, Florida as the

  venue for any disputes arising out of that agreement. Further, the 2019 Restated and Amended

  Operating Agreement executed by NGD HOMESHARING and HERNANDEZ also identifies

  Miami-Dade County as the venue for any disputes arising out of that agreement.

         8.      All conditions precedent to the bringing of this action have been met, have occurred

  or have otherwise been waived.

         9.      In accordance with applicable law, DIFFENDERFER shall be entitled to recoup

  her reasonable attorney’s fees upon prevailing in this action, and hereby places DEFENDANTS

  on notice of her claim for such fees.

                              FACTS COMMON TO ALL COUNTS

                        Background on the Parties and their Relationships

         10.     At all materials times, Defendant, HERNANDEZ is and was principally engaged

  in the development of high-end real estate projects throughout South Florida and served as an

  officer, director and sole managing member of Newgard Development Group, Inc. (“Newgard”).



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         11.     At all times material, Plaintiff, DIFFENDERFER is and was a South Florida-based

  businesswoman and entrepreneur with significant experience in marketing, licensing and

  developing internet and app-based products and businesses.

         12.     DIFFENDERFER is a founder and was the Chief Marketing Officer of Defendant,

  NGD HOMESHARING, which owns and operates under the tradenames “Niido” and “Natiivo”

  [Powered by Airbnb] and was established to develop, build, market, rent, sell, and manage

  residential properties and/or hybrid condo-hotels designed specifically for “homesharing” activity

  supported by a proprietary software platform and app. NGD HOMESHARING and its affiliates

  have generated significant attention and has generated significant press due to its innovative

  concept that has also attracted customers and investors. See Composite Exhibit “A”.

         13.     Defendant, NGD HOMESHARING shares a relationship with Airbnb, Inc.

  (“Airbnb”)1 for investment, management, and marketing rental properties specifically and

  currently in Orlando, Florida and Nashville, Tennessee.

         14.     For the Orlando and Nashville properties, Niido not only assumes the responsibility

  for leasing individual units to tenants (who are thereafter allowed to rent their units to Airbnb

  guests), Niido itself is also a tenant of these two properties where it leases a large number of units

  to itself for the sole purpose of re-leasing them to Airbnb guests for nightly and short-term stays.

         15.     In addition to these two properties, funding and rights have been secured for two

  additional properties that are being built as hybrid condo-hotels, one in Austin, Texas, and the

  other in Miami, Florida, under the same model described above, using the related trade name



  1
          Airbnb, Inc., is an American online marketplace and hospitality service brokerage
  company based in San Francisco, California. Members can use the service to arrange or offer
  lodging, primarily homestays, or tourism experiences. The company does not own any of the real
  estate listings, nor does it host events; it acts as a broker, receiving commissions from each
  booking.

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  “Natiivo”.

   HERNANDEZ and DIFFENDERFER Discuss New Partnership Connecting Real Estate
           Development to an Internet Homesharing Platform and App

         16.     In early August 2015, HERNANDEZ requested a meeting with DIFFENDERFER,

  stating he wanted to introduce DIFFENDERFER to his business partner, Barbara Salk (“Salk”) to

  discuss a new business venture that would involve DIFFENDERFER becoming a partner as

  HERNANDEZ wanted to profit from DIFFENDERFER’s knowledge, skills, experience, and

  contacts regarding internet and app-based services and businesses, particularly in the real estate

  space. DIFFENDERFER readily agreed to meet with them to discuss a partnership.

         17.     From their prior social encounters, HERNANDEZ knew that DIFFENDERFER

  had extensive contacts and experience in developing and launching consumer focused products for

  the hospitality and travel industries working with and creating web and app-based business

  ventures. HERNANDEZ had previously expressed interest in investing in an “Internet of Things”

  smart wine machine that DIFFENDERFER had created, designed, and patented.

         18.     HERNANDEZ knew DIFFENDERFER was a creative technology focused

  entrepreneur who knew how to take a concept and turn it into a business.

         19.     At their first meeting on August 4, 2015, DIFFENDERFER, Salk, and

  HERNANDEZ spoke generally about the potential for developing a condominium-style residential

  complex with units that would be primarily marketed for use and rental in the internet and app-

  based homesharing market, not unlike those offered through Airbnb by private homeowners and

  rental communities. The three decided to further discuss and refine the concept together over a

  series of meetings that followed.

         20.     Throughout a series of subsequent meetings, it was decided that DIFFENDERFER,

  Salk, and HERNANDEZ would develop the new concept and start a new business venture as co-


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  founders/partners. It was understood that HERNANDEZ’s contribution to the partnership would

  primarily be financial, Salk would contribute her administrative, operational and financial

  management skills, and DIFFENDERFER would contribute her substantial creative talents,

  marketing expertise, fundraising experience and network, technology background, entrepreneurial

  skills, time and relevant experience in starting internet and app-based companies to forge strategic

  relationships, develop the necessary proprietary technology and develop and execute a business

  plan.

          21.    During the first few months of their business relationship, HERNANDEZ

  continued to request that DIFFENDERFER seek out and introduce potential investors, including

  Airbnb, WeWork, Neuehouse, and other high-profile collaborators to the new venture and draft

  numerous presentations and business plans to pitch investors.

          22.    As requested, DIFFENDERFER made introductions to numerous prospective

  capital and strategic partners, including without limitation Corigin Ventures, Aeterna Capital,

  Neuehouse, WeWork, Twin Focus Capital, Palm Beach Research Group and numerous other

  investors and strategic partners.

          23.    In October 2015, at DIFFENDERFER’s suggestion, DIFFENDERFER and

  HERNANDEZ engaged Yves Behar, a mutual business partner of both DIFFENDERFER and

  HERNANDEZ and Brian Chesky, the CEO of Airbnb, and other representatives of Airbnb and its

  affiliates. At that time, HERNANDEZ and Salk had only ever read or heard about Airbnb and had

  never actually hosted or traveled using Airbnb or any other homesharing platform.

          24.    DIFFENDERFER helped set up both HERNANDEZ’s and Salk’s individual

  profiles on Airbnb and DIFFENDERFER insisted that in advance of their meeting in San Francisco

  at Airbnb’s headquarters that both HERNANDEZ and Salk actually stay in an Airbnb property.



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         25.     Since 2011, DIFFENDERFER had both hosted and traveled on Airbnb extensively

  and was the only member of the three-member partnership with any actual experience with

  homesharing as either a traveler or a host.

         26.     Before acquiescing to DIFFENDERFER’s demand that he travel and host on

  Airbnb’s platform, HERNANDEZ resisted stating he would never stay at an Airbnb property

  because he is “luxury” traveler and did not have a need or desire for the homesharing lifestyle.

         27.     Following their presentation in San Francisco, a follow-up meeting was arranged

  with HERNANDEZ, Salk, DIFFENDERFER, Airbnb, the architecture firm Arquitectonica,

  among others, all of whom agreed to meet in South Florida for a presentation of the new internet

  and app-based apartment/condominium style development homesharing concept (hereinafter, the

  “Homesharing Venture” or “Venture”).

         28.     The essential elements of the Homesharing Venture as conceived and developed by

  DIFFENDERFER, HERNANDEZ and Salk was that their partnership would raise investor funds

  to construct, own, manage and lease apartment and condominium properties specifically designed

  for the homesharing lifestyle. The Venture would require the development of proprietary software

  and effective branding to attract not only the necessary investors and strategic partners, but also to

  attract users. Very early on during their initial meeting, DIFFENDERFER identified Airbnb as the

  primary strategic partner and potential investor that could make the Venture a success.

         29.     During the first few months of their partnership, DIFFENDERFER understood that

  the time she, Salk and HERNANDEZ spent on furthering the Venture was going to be un-

  compensated time as they had a lot of work to do to develop and refine a business plan and had

  no sources of revenue.

         30.     At all material times, it was discussed between them that they would share



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  proportionately in the equity of the Venture based on their respective contributions (e.g. monetary,

  time, effort and results) to the Venture, and that they would also similarly be able to personally

  invest their own funds in the real estate that the Venture would acquire and develop.

  HERNANDEZ repeatedly expressed to DIFFENDERFER that the three partners would carve out

  ten percent (10%) of each real estate investment that the Venture would make for their own

  personal investment opportunity.

          31.     Specifically, HERNANDEZ represented to DIFFENDERFER that out of the ten

  percent (10%) carved out, each of the three partners would be given the opportunity on a right of

  first refusal basis to personally invest their own funds pro rata relative to their respective ownership

  percentages maintained in the Venture. For example, HERNANDEZ explained that if they were

  equal 1/3 partners, then on a right of first refusal basis each of them would be able to personally

  acquire up to three and one-third percent (3.33%) interest in each real estate acquisition that the

  Venture would make.

          32.     More than a year after DIFFENDERFER’s initial meetings with HERNANDEZ

  and Salk, DIFFENDERFER learned that Salk was not only employed as the Chief Operating

  Officer of HERNANDEZ’s company, Newgard, but was being paid $25,000 a month along with

  receiving equity and closing fees on deals HERNANDEZ was involved in.

          33.     In December 2015, a memorandum of Understanding (MOU) was negotiated

  between Newgard (as the Venture had yet to formally organize into Defendant, NGD

  HOMESHARING) and Airbnb, to further explore and develop the Homesharing Venture.

          34.     In January 2016, representatives of Airbnb traveled to Miami, Florida and met with

  DIFFENDERFER, HERNANDEZ, Salk and representatives from Arquitectonica and others. In

  anticipation of the meeting, DIFFENDERFER had already authored a comprehensive written and



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  visual presentation and executive summary for the new Homesharing Venture titled “‘Airbnb

  House’ December 1, 2017” and presented it at the meeting.

         35.     Although the initial MOU with Airbnb was executed with Newgard,

  HERNANDEZ, Salk, and DIFFENDERFER understood and agreed they would form a new

  business entity in which they would all hold a proportionate equity interest as set forth above, once

  the Venture was formally organized as a business entity for outside investors.

         36.     Defendant, NGD HOMESHARING’s Articles of Organization were filed with

  Florida’s Secretary of State on September 12, 2016. HERNANDEZ listed himself as the

  “manager” on the Articles of Organization.

         37.     DIFFENDERFER was responsible for rapidly converting and implementing the

  partners’ initial idea into a business plan and quickly into a real business; she was principally

  involved in taking the Homesharing Venture from a loosely defined concept to a viable business,

  now known as Defendant NGD HOMESHARING, LLC, that recently raised $10,000,000 in

  investor capital, at a valuation of $65,000,000.00.

                HERNANDEZ’s Promises Regarding Equity and Compensation

         38.     In December 2015, when the MOU with Airbnb was being finalized,

  HERNANDEZ reiterated to DIFFENDERFER that as an originator and co-founder of the Venture,

  DIFFENDERFER would share in a proportionate equity stake in the Venture, commensurate with

  her contributions to the Venture relative to that of HERNANDEZ and Salk. Specific ownership

  percentages were not discussed at that time, it was simply stated that the ownership percentages

  would be “equitable” based on the three partners’ respective contributions. Further, it was agreed

  that DIFFENDERFER would hold an executive employment position as Chief Marketing Officer

  with the then yet-to-be formed business entity that would house the Venture.



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         39.     Also starting in December 2015, and many times thereafter, in addition to

  discussing the equitable and proportionate ownership percentage interest that DIFFENDERFER

  would receive in the Venture, HERNANDEZ continually promised DIFFENDERFER that once

  certain fundraising benchmarks were achieved DIFFENDERFER would begin receiving a salary

  as Chief Marketing Officer of at least $250,000/year and benefits.

         40.     To ensure that DIFFENDERFER did not lose interest in the Venture and that she

  continued to devote her time, skills, reputation and contacts to the Venture, in December 2015,

  HERNANDEZ told DIFFENDERFER that starting then she would accrue as “deferred

  compensation” the full amount of her salary of the $250,000 / year, and that these accrued amounts

  would be paid once certain fundraising benchmarks were achieved for the Venture, at which point

  she would also be given an executive employment agreement as Chief Marketing Officer.

         41.     Since early in the Venture’s existence, financial models continued to reflect an

  annual salary of between $250,000 and $300,000 per year for DIFFENDERFER.

         42.     HERNANDEZ told DIFFENDERFER that he too would receive a salary of

  $250,000 / year and that he was also deferring and accruing his compensation, which would not

  be paid until the fundraising benchmarks were met.

         43.     HERNANDEZ’s representations proved to be illusory, reckless, intentionally

  dishonest and were intended to induce DIFFENDERFER’s continued dedication of her time,

  efforts, skills, assets, reputation, contacts and resources to developing the Venture into a viable

  and ultimately successful business without ever having to pay the fair value of DIFFENDERFER’s

  services.

         44.     DIFFENDERFER went without pay during the first two years of her service to the

  Venture, despite dedicating her full-time and tremendous personal and professional efforts and



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  sacrifices to create, develop, refine and execute upon the business plan, objectives and goals of the

  Venture.

          45.     From December 2015 through the formation of NGD HOMESEHARING in

  September 2016, HERNANDEZ was paying both himself and Salk while DIFFENDERFER was

  not being paid at all.

          46.     In 2016, a fundraiser was hired for the Venture who was being paid $15,000 a

  month and was given an office. The fundraiser’s only purpose was to raise capital for NGD

  HOMESHARING. He subsequently also became an investor. DIFFENDERFER fundraised and

  did much more for the Venture but she received only illusory “deferred compensation”.

          DIFFENDERFER Labors Exhaustively to Launch the New Business Venture

          47.     With      HERNANDEZ’s        knowledge     and   approval    and    incentivized   by

  HERNANDEZ’s promises of an equitable proportionate ownership percentage interest and

  accrued deferred compensation, DIFFENDERFER concentrated full-time on business

  development for the Venture.

          48.     DIFFENDERFER undertook research, planning and development of nearly all

  aspects of the new business concept, including market analysis, business and management

  structure, development of investors and strategic relationships, financial projections, design and

  architecture of the website and application, and project design and concept.

          49.     In September 2016, once NGD HOMESHARING was formed and the Venture’s

  business plan began to take a firmer hold among potential investors, strategic partners, and with

  Airbnb itself, the Venture was given a trade name, “Nido”, which evolved into “Niido” and

  “Natiivo” respectively.

          50.     Also, in September 2016, in great part due to DIFFENDERFER’s efforts and



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  business plan, a Collaboration Agreement was signed between NGD HOMESHARING and

  Airbnb.

         51.     Additionally, in September 2016, DIFFENDERFER was given the official title of

  “Chief Marketing Officer” for Niido, but DIFFENDERFER continued in her key-woman role

  spear-heading all aspects of the start-up efforts, with the overarching goal of raising necessary

  investment capital.

         52.     Despite the title, HERNANDEZ told DIFFENDERFER she would continue to

  accrue her “deferred compensation” and no operating agreement was presented to

  DIFFENDERFER reflecting her proportionate equitable ownership percentage interest as

  HERNANDEZ begged off discussions regarding reducing the ownership percentages to writing

  as he stated the primary goal was to attract investors at which point the parties would execute an

  operating agreement.

         53.     Throughout 2017, DIFFENDERFER dedicated her efforts full-time to fine-tuning

  various aspects of business development, including inter alia, hiring media and technology

  consultants, negotiating contracts, including property management agreements, meeting with

  design, operations, software, legal, tax and finance professionals, and promoting Niido in different

  media forms, and among potential investors, strategic partners and Airbnb.

         54.     DIFFENDERFER also devoted a significant amount of time to the development of

  NGD HOMESHARING’s proprietary software for Niido’s website and app. In originating and

  conceptualizing Niido’s website and app design and functionality, DIFFENDERFER drew from

  her extensive experience with internet and app-based utilities and created modeling and

  functionality specific to Niido that were her proprietary brainchild.

         55.     DIFFENDERFER engaged an IT advisor, Mihai Bote and hired a technology



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  development firm, Tripcraft, to build the first website and app, which was based on the architecture

  DIFFENDERFER had personally designed for Niido, which came to be known as “Niido Hub”.

         56.     For much of 2017, HERNANDEZ and DIFFENDERFER were also busy raising

  the initial round of investment capital from “friends and family” and successfully secured $2.5

  million of seed capital in the fourth quarter of 2017.

         57.     During the capital raising efforts, HERNANDEZ repeatedly represented to

  DIFFENDERFER as well as to numerous other potential investors and others, that HERNANDEZ

  had personally invested $1.5 million of cash into NGD HOMESHARING for Niido’s development

  and to cover NGD HOMESHARING’s expenses until such time as outside capital was raised.

                     HERNANDEZ Rebukes DIFFENDERFER’s Request for
                          Compensation After Initial Capital Raise

         58.     In November 2017, Niido successfully received the first $2.5 million in investment

  capital, with NGD HOMESHARING issuing to “friends and family” promissory notes that could

  be converted into equity based upon a $10 million business valuation. NGD HOMESHARING

  had also cultivated another major investor, Brookfield Property Group, and secured a commitment

  of $200 million for real estate acquisitions with the sole purpose of buying multi-family buildings

  or condominiums to convert into the Niido homesharing concept.

         59.     This investment was run through a special purpose vehicle by and through its

  affiliate(s) including BOP Nest Domain TRS LLC (collectively, “Brookfield”) of which

  HERNANDEZ is a member, a fact that was not known or disclosed to DIFFENDERFER.

         60.     Brookfield was to be issued a series of three (3) investment warrants. These

  warrants allowed Brookfield to acquire up to twenty-five percent (25%) of NGD

  HOMESHARING without having to actually invest a single dollar into the company itself. The

  warrants gave protective rights, anti-dilution protection, and below market exercise prices in


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  exchange for the investment in the real estate which was secured by NDG HOMESHARING

  guaranteeing certain monthly and nightly occupancy rates, rent premiums and services all paid for

  by NGD HOMESHARING and run by the NGD HOMESHAIRNG employees and their affiliate

  management team led by RAMM Property Management (“RAMM”).

         61.     Prior to, during, and following the initial capital raise event, DIFFENDERFER,

  who had labored exhaustively on behalf of NGD HOMESHARING without remuneration,

  approached HERNANDEZ about agreeing to document her proportionate equitable ownership

  percentage interest, her accrued “deferred compensation” and executing an employment

  agreement.

         62.     HERNANDEZ again begged off any further discussion regarding compensation

  with DIFFENDERFER, and instead provided promises and general assurances of her importance

  to the company, that she should “trust” him as everything he was doing to raise investor capital

  would benefit her, and that she would be “taken care of.”

         63.     At the closing of the seed round of funding, it was agreed that DIFFENDERFER

  and all other executive level personnel would receive $10,000 per month to be paid in cash and

  would continue to accrue the balance of their agreed to salaries as “deferred compensation”

  pending the closing of the Series A round of funding.

         64.     DIFFENDERFER agreed to this arrangement as it was in the best interest of NGD

  HOMESHARING so the newly invested capital could run the business for an extended period

  prior to the need for another capital raise. HERNANDEZ told DIFFENDERFER that her accruals

  were for the balance of her $250,000 annual salary, plus a bonus (e.g. accruing $130,000 / year).




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    DIFFENDERFER Falsely Induced and then Forced to Sign 2017 Operating Agreement
                         Over Objection and Under Duress

         65.     In the fourth quarter of 2017, HERNANDEZ and his personal counsel spent weeks

  negotiating an operating agreement for NGD HOMESHARING with Brookfield, excluding

  DIFFENDERFER from most of those discussions. On the few occasions when DIFFENDERFER

  was consulted on the draft agreement, she voiced concerns over the onerous terms being applied

  against NGD HOMESHARING in favor of Brookfield to which HERNANDEZ responded

  defensively and aggressively.

         66.     When DIFFENDERFER and even HERNANDEZ’s personal counsel told

  HERNANDEZ that the terms of the operating agreement were a “bad deal” for NGD

  HOMESHARING, HERNANDEZ responded by saying that by accepting Brookfield’s terms “it

  secured NGD HOMESHARING’s future investment in real estate, which is the goal”—e.g. for

  NGD HOMESHARING to acquire and build as many buildings as possible which would in turn

  enrich HERNANDEZ, DIFFENDERFER, and NGD HOMESHARING.

         67.     During the latter half of 2017, when the parties discussed the terms of a prospective

  operating    agreement   and    on   numerous     occasions    previously,    HERNANDEZ         told

  DIFFENDERFER that he had personally contributed $1.5 million in “cash” to the Venture and

  that he therefore would take a seventy (70%) ownership interest in NGD HOMESHARING, that

  Salk’s ownership percentage was to be twenty percent (20%) based on her early contributions to

  the Venture, and that the remaining ten percent (10%) would be for DIFFENDERFER.

         68.     In those meetings, HERNANDEZ also stated that as part of Brookfield’s agreement

  to invest in NGD HOMESHARING, Brookfield required both DIFFENDERFER and

  HERNANDEZ to have equity vesting schedules for a portion of their equity interests and that they

  both had to dedicate 100% of their time to NGD HOMESHARING during the entire vesting period


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  to ensure they remained with the company.

         69.    To that point, and thereafter, HERNANDEZ never dedicated 100% or even a

  majority of his working time to NGD HOMESHARING, its management, growth, or operations;

  leaving that to DIFFENDERFER various consultants and the contractors and staff

  DIFFENDERFER hired to help develop and operate NGD HOMESHARING.

         70.    HERNANDEZ told DIFFENDERFER that as CEO of NGD HOMESHARING,

  Brookfield also required HERNANDEZ to agree that he not take any vacation for three (3) years

  post-investment.

         71.    HERNANDEZ said these terms were part of his “Employment Agreement” with

  NGD HOMESHARING. Despite several requests for this document, HERNANDEZ has never

  furnished it to DIFFENDERFER.

         72.    Similarly, HERNANDEZ never provided DIFFENDERFER with access to the

  financial books and records since inception of the Venture back in 2015 or even after NGD

  HOMESHARING was formed, nor at any time thereafter up to and through the date she was

  wrongfully terminated from NGD HOMESHARING in February 2019.

         73.    In October 2017, DIFFENDERFER received a draft version of the proposed

  operating agreement. The draft provided that DIFFENDERFER would vest five percent (5%) of

  her membership units immediately upon the signing of the operating agreement and would receive

  a remaining five percent (5%) in accordance with a two-year vesting schedule, giving

  DIFFENDERFER a ten percent (10%) ownership percentage in the company with anti-dilution

  protection.

         74.    As the agreement was being revised and finalized, DIFFENDERFER requested on

  numerous occasions to view the working draft so she could voice her opinion, but she was denied



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  access to this information.

         75.     DIFFENDERFER inquired why she was only being given a maximum of a ten

  percent (10%) ownership interest in NGD HOMESHARING, to which HERNANDEZ responded

  that his equity share was due to his having personally contributed $1.5 million in “cash” to NGD

  HOMESHARING, and he further stated that the only contribution DIFFENDERFER had made

  was her time and ideas.

         76.     At approximately 5:30 am on November 29, 2017, DIFFENDERFER received an

  urgent email communication sent on behalf of NGD HOMESHARING transmitting a 46-page

  single-spaced Operating Agreement for NGD HOMESHARING (the “2017 Operating

  Agreement”) that was sent in final form. In the early morning hours, DIFFENDERFER was

  instructed to sign the 2017 Operating Agreement, as is, by no later than 12:00 pm that same day

  as the document was critical for completing the investment transaction with Brookfield and other

  investors, though they were not parties or signatories to the 2017 Operating Agreement.

         77.     Unbeknownst to DIFFENDERFER, in the final 2017 Operating Agreement,

  HERNANDEZ surreptitiously changed numerous material terms from how they were represented

  to DIFFENDERFER previously and failed to advise DIFFENDERFER of these material changes.

         78.     Specifically, HERNANDEZ changed the final 2017 Operating Agreement so that

  HERNANDEZ did not have a vesting schedule while all DIFFENDERFER’s (i.e. the other co-

  founder’s) ownership interest was made subject to a vesting schedule.                As revised by

  HERNANDEZ, DIFFENDERFER would not vest any membership units until one year after the

  2017 Operating Agreement was executed and would not fully vest until two years following

  execution.

         79.     In the final 2017 Operating Agreement sent to DIFFENDERFER for execution,



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  there was no mention of Salk or her membership units and Salk’s twenty percent (20%) of NGD

  HOMESHARING membership units were partially usurped by HERNANDEZ (who took more

  than 83% of the equity interests for himself).

         80.     The    2017   Operating    Agreement      listed   only   two   Officers   of    NGD

  HOMESHARING: (a) HERNANDEZ as the Chief Executive Officer and (b) DIFFENDERFER

  as the Chief Marketing Officer.

         81.     At approximately 11:30 am on November 29, 2017, before DIFFENDERFER had

  a meaningful ability to review the 2017 Operating Agreement or consult an attorney on her own

  behalf, HERNANDEZ requested DIFFENDERFER come to his office and, using threats and

  intimidation, he demanded that she execute the 2017 Operating Agreement immediately.

  HERNANDEZ indicated that he would view her delay in signing the 2017 Operating Agreement

  or her request for any changes to be made thereto, as obstruction and interference with the

  advantageous investment relationship that NGD HOMESHARING would be entering with

  Brookfield, and other investors.

         82.     DIFFENDERFER told HERNANDEZ that she needed more time and that she

  objected to being placed under such duress and being given virtually no opportunity to review the

  document or seek the advice of her own legal counsel. In response, HERNANDEZ instructed

  DIFFENDERFER to sign the 2017 Operating Agreement or risk having her role in NGD

  HOMESHARING immediately terminated, resulting in DIFFENDERFER not receiving her

  accrued “deferred compensation” (which by that point was nearly $500,000), and having all her

  efforts over the prior two years go to waste.

         83.     In addition to not being able to meaningfully review the document,

  DIFFENDERFER was told that no changes would be made to the 2017 Operating Agreement and



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  that she needed to “trust” HERNANDEZ as he was looking out for her best interest. NGD

  HOMESHARING’s then-newly appointed General Counsel, Warren Stamm (“Stamm”) was

  present with HERNANDEZ and DIFFENDERFER on November 29, 2017 and he reiterated the

  sense of urgency and that absolutely no changes would be accepted or made to the 2017 Operating

  Agreement.

         84.     When DIFFENDERFER inquired of HERNANDEZ why her entire equity interest

  was conditioned on future performance and conditional approval, and was limited to seven and

  one-half percent (7.5%) after one year and ten percent (10%) after two years, compared to

  HERNANDEZ immediately fully vesting an interest of 83.57%, HERNANDEZ once again

  responded that his equity share and his immediate vesting was due to his having personally

  contributed $1.5 million in “cash” to NGD HOMESHARING.

         85.     No supporting financials or source of funds to reflect HERNANDEZ’s purported

  contribution has ever been shown to DIFFENDERFER after numerous requests for this

  information.

         86.     Rather than risk the loss of the investors and the threatened ramifications of same,

  with the threat of a loss of her position, accrued “deferred compensation”, ownership percentage,

  and having her exhaustive efforts over the prior two years go to waste, and further based upon

  HERNANDEZ’s representations regarding his purported personal cash investment of $1.5 million,

  with no alternative option and no time to review the documents, DIFFENDERFER reluctantly

  executed the 2017 Operating Agreement at the demand of HERNANDEZ.

         87.     After executing the 2017 Operating Agreement and reviewing it with counsel, it

  became clear that it materially differed from the verbal representations and assurances that

  HERNANDEZ had repeatedly made to DIFFENDERFER during the prior two years, and that



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  those differences uniquely and negatively impacted DIFFENDERFER.

         88.     The equity distribution and the vesting schedule were not part of any of her earlier

  equity-related discussions with HERNANDEZ and were not as agreed to or understood at any time

  between the parties.

         89.     Additionally, it became clear that the Warrants provided to Brookfield were tied

  directly to real estate investments, and no corresponding documents were provided to

  DIFFENDERFER with respect to those related transactions.

         90.     Upon information and belief, DIFFENDERFER came to believe the execution of

  the 2017 Operating Agreement coincided with HERNANDEZ separately closing with Brookfield,

  to his own personal benefit and to the unique detriment of DIFFENDERFER, on the capital

  necessary to acquire an Orlando property through one or more of HERNANDEZ’s other business

  entities in which DIFFENDERFER had no interest.

         91.     HERNANDEZ’s separate dealings were referenced in the Brookfield Warrants,

  Side Letters, Operating Agreement for BOP Nest Domain, and other documents that

  HERNANDEZ willfully withheld from DIFFENDERFER so that she could not review those

  documents or understand the transaction prior to being threatened and made to execute the 2017

  Operating Agreement to her unique detriment.

         92.     Article V of the 2017 Operating Agreement established that NGD

  HOMESHARING would be managed by its Class A Members, of which HERNANDEZ provided

  himself with a Supermajority interest. Similarly, Article V states Major Decisions will require a

  vote of the Class A Supermajority, effectively ensuring HERNANDEZ maintained total and

  exclusive control over all decisions of NGD HOMESHARING, neutralizing DIFFENDERFER

  entirely. Additionally, at all material times, HERNANDEZ appointed himself and acted as



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  Manager of NGD HOMESHARING.

         93.     Article VI of the 2017 Operating Agreement also includes exculpatory language

  intended to waive statutory and common law fiduciary duties owed by HERNANDEZ to

  DIFFENDERFER, which language is manifestly unreasonable, particularly under the

  circumstances here.

         94.     The 2017 Operating Agreement also contained several unreasonable, overbroad

  and arbitrary restrictive covenants. In part, Section 5.8, titled, “Restrictive Covenants”, provides:

                 5.8 Restrictive Covenants.

                 (a) As a material inducement to the Company and to each other Member to
                 enter into this Agreement, each Member agrees that, for so long as such
                 Member remains a Member and for a period of 18 months following the
                 date on which such Member ceases to be a Member, such Member shall
                 not, and shall cause his or her Affiliates not to, directly or indirectly:
                          (i) own any interest in, manage, control, participate in, consult
                 with, render services for (as a director, officer, employee, agent, broker,
                 partner, contractor, consultant or otherwise) or be or become engaged or
                 involved in any Restricted Business within the Restricted Territory,
                 including by being or becoming an organizer, owner, co-owner, trustee,
                 promoter, Affiliate, investor, lender, partner, joint venturer, stockholder,
                 officer, director, employee, independent contractor, manager,
                 salesperson, representative, associate, consultant, agent, broker, supplier,
                 licensor, analyst or advisor of, to or with any Restricted Business;
                          (ii) make any investment (whether equity, debt or otherwise) in, lend
                 or otherwise provide any money or assets to, or provide any guaranty or
                 other financial assistance to any Restricted Business within the Restricted
                 Territory; or
                          (iii) provide any information, assistance, support, product,
                 technology or intellectual property to any Person engaged or involved in
                 any Restricted Business within the Restricted Territory.
                 (b) Notwithstanding anything to the contrary in Section 5.8(a), a Member
                 may, directly or indirectly, own, solely as an investment, the equity
                 securities of any corporation engaged in the Restricted Business which are
                 publicly traded on a national or regional stock exchange or on the over-the-
                 counter market, but only if such Member (i) is not a controlling person of,
                 or a member of a group which controls, such corporation, (ii) does not
                 directly or indirectly own more than one percent (1%) of any class of
                 securities of such corporation, and (iii) does not undertake any of the
                 activities contemplated by Section 5.8(a) above (other than the purchase of


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                   such equity securities) and otherwise has no active participation in the
                   business of such corporation.
                   (c) Section 5.8(a) shall not apply to Brookfield or its Affiliates and assigns.
                   (emphasis added)

         95.       The 2017 Operating Agreement defines the “Restricted Territory” as the entire

  United States.

         96.       The 2017 Operating Agreement defines the “Restricted Business” as “any business,

  activity, enterprise or venture that conducts activities or provides products or services of the type

  conducted, offered or provided by the company from time to time.”

         97.       The 2017 Operating Agreement defines an “Affiliate” as “any other Person

  controlling, controlled by or under common control with such particular Person, where “control”

  means the possession, directly or indirectly, of the power to direct the management and policies of

  a Person whether through the ownership of voting securities, by contract or otherwise.” A true and

  correct copy of the 2017 Operating Agreement is attached as Exhibit “B”.

         98.       DIFFENDERFER has abided by the Restrictive Covenants.

         99.       The Restrictive Covenants are unreasonable in breadth, duration and location, and

  are not reasonably designed to protect a legitimate business interest of NGD HOMESHARING.

         100.      The Restrictive Covenants unreasonably restrict the marketability of membership

  units in NGD HOMESHARING, and therefore unreasonably suppressed the value of

  DIFFENDERFER’s ownership interest as they purported to drastically restrict the employment,

  contracting and investment rights of any future prospective member to whom DIFFENDERFER

  may have wished or may currently wish to sell her membership units simply by virtue of such

  prospective member assuming a membership interest in NGD HOMESHARING.

         101.      HERNANDEZ also executed the same 2017 Operating Agreement with the

  included Restrictive Covenants.


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         102.    Despite serving as the Supermajority Class A member and the sole Manager for

  NGD HOMESHARING, HERNANDEZ has not observed or abided by the restrictions in the

  Restrictive Covenants and has participated directly and indirectly in Restricted Business activities

  in the Restricted Territory, without consequence.

         103.    Similar to HERNANDEZ, multiple other members, employees, contractors and

  agents of NGD HOMESHARING have participated directly and indirectly in Restricted Business

  activities in the Restricted Territory as those terms are defined in the 2017 Operating Agreement,

  and have been permitted to, and otherwise have received “side letters” or waivers, that purport to

  permit such member unit holders to circumvent compliance with the Restrictive Covenants.

         104.    In multiple instances, corporate governance documents, restrictive covenant

  agreements, and oral permission and/or “side letters” excusing compliance with the Restrictive

  Covenants have been the product of conflict of interest transactions that HERNANDEZ has not

  disclosed and has not sought authority to enter into such transactions from disinterested members,

  including without limitation, DIFFENDERFER.

         105.    For example, the new Chief Marketing Officer surreptitiously hired by

  HERNANDEZ to replace DIFFENDERFER, Kimberly Walker was given an employment

  agreement that does not require her to follow the same restrictive covenants as placed on other

  NGD HOMESHARING officers and members and specifically allows her to compete directly with

  the business, including with key local competitors.

     DIFFENDERFER Objects to Retention of New Conflicted Executive Chief Operating
                  Officer and Blows the Whistle on His Activities

         106.    In November 2017, HERNANDEZ hired a business operations consultant to fill the

  role of a Senior Vice President of Operations (the “Consultant”) for NGD HOMESHARING who

  was an active consultant with a competitive private equity firm (the “Competitive Firm”).


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         107.    The Consultant maintained a long-term contract with the Competitive Firm, which

  ultimately created a direct conflict of interest with NGD HOMESHARING when, in 2018,

  HERNANDEZ unilaterally decided to elevate the Consultant’s role by offering him the position

  of Chief Operating Officer (“COO”) at NGD HOMESHARING. HERNANDEZ allowed the

  Consultant, who had by then become the COO, to remain a consultant with the Competitive Firm

  throughout the entire period he would serve as COO with NGD HOMESHARING.

         108.    The conflict was apparent enough that the Competitive Firm was listed as a

  “Competitor” in NGD HOMESHARING’s 2019 Operating Agreement for purposes of placing

  restrictions on the sale of membership units by current members to the Competitive Firm.

         109.    When DIFFENDERFER learned of HERNANDEZ’s decision to make the

  Consultant COO, she first inquired with HERNANDEZ whether the potential conflict was

  addressed and then whether NGD HOMESHARING had disclosed the potential conflict to the

  new investors. HERNANDEZ ignored her concerns and DIFFENDERFER never saw any

  evidence of the disclosure.

         110.    DIFFENDERFER continually vocalized to HERNANDEZ her concerns with the

  COO due to his on-going business conflicts with the Competitive Firm, his apparent inability

  ability to perform his job as COO, his behavior towards his peers and subordinates and various

  attempts to appropriate NGD HOMESHARING’s intellectual property. No action was taken based

  on DIFFENDERFER’s repeated objections.

         111.    On numerous occasions, and at DIFFENDERFER’s insistence the COO’s

  problematic behavior was documented by NGD HOMESHARING’s vendors, consultants and

  employees yet HERNANDEZ refused to take any action claiming – “we can’t have any instability

  in our team before Series A closes.”



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         112.    The COO’s problematic conduct and poor performance were known to

  HERNANDEZ, Stamm, CFO Seth Zimmerman, CTO Todd Butler, yet the COO remained in his

  role until April 2019, after the Series A funding was complete.

         113.    Through his business entity, the COO had a consulting contract with NGD

  HOMESHARING that specifically allowed him to work with competitive businesses.                  On

  information and belief, HERNANDEZ also provided the COO a waiver and release that allowed

  him to work for anyone, including the Competitive Firm.

         114.    The COO had access to revenue modeling, proprietary tools and advantageous

  business information that he verbally expressed an interest in using in furtherance of his services

  to the Competitive Firm.

         115.    Following DIFFENDERFER’s repeatedly expressed concerns, when a revenue

  manager sent a detailed letter to DIFFENDERFER, NGD HOMESHARING’s general counsel,

  CTO, CFO and VP of Acquisitions regarding these concerns, NGD HOMESHARING’s

  management ignored the letter.

         116.    DIFFENDERFER later inquired with NGD HOMESHARING’s corporate counsel

  during the due diligence process with Airbnb whether the COO’s conflict as a consultant for the

  Competitive Firm had been disclosed to the potential investors. His response was that “he had no

  prior knowledge” of the COO’s direct conflict and that it was not brought to his attention by

  HERNANDEZ.

         117.    At other times, DIFFENDERFER reminded HERNANDEZ and other executives

  of the impropriety of retaining a conflicted executive, particularly when the conflict was not being

  disclosed to a potential Series A investor. DIFFENDERFER’s protests were repeatedly and

  systematically disregarded. Not only were they ignored, HERNANDEZ threatened her to keep



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  quiet on the subject or there would be “repercussions”.

         118.    Despite other Officers and Members of NGD HOMESHARING being bound by

  the same Restrictive Covenants, NGD HOMESHARING turned a blind eye to the COO’s activities

  which are competitive with NGD HOMESHARING.

    DIFFENDERFER Begins to Receive 1099 Compensation from NGD HOMESHARING

         119.    In December 2017, once the initial $2.5 million capital raise was complete, more

  than two years after DIFFENDERFER began dedicating her full-time, including nights and

  weekends, to develop and launch the Venture that became NGD HOMESHARING while only

  receiving the promise of “deferred compensation” and proportionate equity, HERNANDEZ told

  DIFFENDERFER she would be paid as a 1099 independent contractor, with $10,000 being paid

  as a retainer each month and the balance of her promised $250,000 deferred compensation (i.e.

  $10,833/month) being added to DIFFENDERFER’s accrued deferred compensation that had

  already been accumulating since December 2015.

         120.    HERNANDEZ promised DIFFENDERFER that upon NGD HOMESHARING

  achieving its next fundraising benchmark, DIFFENDERFER would receive an executive

  employment contract and be paid her total accrued “deferred compensation” owed to her since

  December 2015.

         121.    Despite HERNANDEZ telling DIFFENDERFER that she was performing her

  services for NGD HOMESHARING as a 1099 independent contractor, DIFFENDERFER never

  received an independent contractor agreement, nor did she ever have control over the manner and

  method of the services she rendered. She took directions and instructions from HERNANDEZ at

  NGD HOMESHARING, and she did not set her own schedule or place of work, which was at

  NGD HOMESHARING’s offices.



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         122.    DIFFENDERFER was integral to NGD HOMESHARING’s operations and she

  devoted her full-time and set hours to NGD HOMESHARING. In fact, the 2017 Operating

  Agreement, which was drafted by HERNANDEZ and presented to DIFFENDERFER for her

  immediate signature without allowing her time to review or suggest changes thereto, contemplated

  and treated DIFFENDERFER as a full-time employee of NGD HOMESHARING. Specifically,

  in addition to naming DIFFENDERFER as the “Chief Marketing Officer”, the equity vesting

  schedule required her to devote “all of her time” to working at NGD HOMESHARING for a two-

  year period before she could receive her ten percent (10%) membership interest in the company

  she founded and built from the ground up, stating in pertinent part:

                 13.18 Diffenderfer Unit Vesting. Diffenderfer shall receive
                 additional Class A Units pursuant to the following terms and
                 conditions:
                 (a) In order to be eligible to receive any Units pursuant to this
                 Section 13.18, the Class A Majority shall have determined, in its
                 good faith reasonable discretion, that Diffenderfer shall have
                 dedicated substantially all of her time to the to the business of the
                 Company, and shall not have engaged in any other business
                 venture other than for a period of de minimis time.
                 … (emphasis added).

         123.    Throughout 2018, DIFFENDERFER sought reassurances from HERNANDEZ

  regarding her promised employment agreement, benefits and “deferred compensation”.

  HERNANDEZ continued to assure and promise DIFFENDERFER that an executive employment

  agreement for a guaranteed term at the rate of $250,000/year plus benefits (with $300,000 per year

  reflected for DIFFENDERFER’s compensation package in the Company’s financial statements)

  was forthcoming, and that she would be paid her accrued “deferred compensation” once the

  fundraising benchmark was met. HERNANDEZ also shared certain of NGD HOMESHARING’s

  September 2018 financial projections with DIFFENDERFER that reflected her salary and benefits


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  being paid in full starting the month the Series A funding was expected to close. See Exhibit “C”.

         124.    Throughout 2018, when DIFFENDERFER would raise the issue of her “deferred

  compensation” and her desire to be paid and be treated as an employee, HERNANDEZ would

  state that he was also deferring his own compensation since December 2015 and that he too would

  receive a payout of his accrued deferred compensation once the Series A funding closed. On

  information and belief, when the Series A funding came in at the end of 2018, HERNANDEZ paid

  himself part of his accruals dating back to December 2015 in the amount of $390,000, and as of

  January 4, 2019 NGD HOMESHARING’s disclosure schedules continued to reflect the additional

  amount of HERNANDEZ’s accruals dating back to December 2015 in the outstanding amount of

  $165,000 (for a total of $550,000). See Exhibit “D”. However, no accruals were paid to

  DIFFENDERFER, ever.

           DIFFENDERFER Lends Her Personal Credit to NGD HOMESHARING

         125.    In July 2018, while DIFFENDERFER was being told she was an independent

  contractor, HERNANDEZ requested that DIFFENDERFER permit NGD HOMESHARING to

  use DIFFENDERFER’s personal credit to open a business credit card account with American

  Express for NGD HOMESHARING.

         126.    HERNANDEZ explained to DIFFENDERFER that neither he personally nor NGD

  HOMESHARING could qualify for a card with American Express due to his previous defaults

  with the company, and that they required a different personal guarantor.

         127.    DIFFENDERFER maintained excellent credit with American Express and based in

  large part on the trust she was told to place in HERNANDEZ, his authority over her, and her

  justified belief that she was going to receive the long-promised executive employment agreement

  for a guaranteed term, DIFFENDERFER agreed to open a credit account in her name for charges



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  by NGD HOMESHARING.

         128.   HERNANDEZ promised DIFFENDERFER that: (a) all charges made on the credit

  card would be paid in full on a monthly basis so that DIFFENDERFER’s credit would not be

  harmed, and (b) all of the travel miles and rewards earned on the card would belong exclusively

  to DIFFENDERFER and would not be used by NGD HOMESHARING.

         129.   Based on the foregoing representations, DIFFENDERFER applied with American

  Express to open a business account for NGD HOMESHARING, pledging her own credit.

  American Express issued numerous charge cards on the account for use by NGD

  HOMESHARING personnel for NGD HOMESHARING expenses.

   DIFFENDERFER Begins to Suspect that Information HERNANDEZ Provided Regarding
         NGD HOMESHARING’s Business and Finances were Not as Represented

         130.   Throughout 2018, DIFFENDERFER continued to work exclusively and

  exhaustively for NGD HOMESHARING, with the overarching goal of raising the next round of

  investment capital from Airbnb, anticipated to be between $10-15 million.

         131.   However, throughout the latter half of 2018, DIFFENDERFER began to suspect

  that HERNANDEZ’s claim in November 2017 that he made a $1.5 million personal cash

  investment was not as represented as the purported investment was nowhere documented in the

  company’s financial records, and that HERNANDEZ simply inserted that figure into the 2017

  Operating Agreement as a way for him to justify to DIFFENDERFER the tremendous inequity of

  their respective ownership interests in NGD HOMESHARING.

         132.   DIFFENDERFER also began to suspect that HERNANDEZ was using NGD

  HOMESHARING as a marketing tool and as a means to steer real estate development business to

  himself through Newgard, Brookfield, other HERNANDEZ affiliated companies and other

  investors in NGD HOMESHARING instead of placing the property interests in NGD


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  HOMESHARING in accordance with HERNANDEZ’s prior representations, the parties’

  agreement and the company’s business plan as conceptualized and documented from the parties’

  earliest meetings in 2015.

         133.    DIFFENDERFER began to grow concerned that HERNANDEZ was substituting

  his own, individual interests and Newgard’s interests for those of NGD HOMESHARING, as

  HERNANDEZ’s other entities owned and developed the real estate deals associated with NGD

  HOMESHARING, while NGD HOMESHARING incurred the costs associated with obtaining and

  marketing the deals, and thereafter managing and renting the properties.

         134.    Over time, and particularly after she was wrongfully terminated from NGD

  HOMESHARING in February 2019, it became clearer to DIFFENDERFER that HERNANDEZ

  was using NGD HOMESHARING as a means of outsourcing certain pre-development, business

  development, marketing and promotional expenses for HERNANDEZ, Newgard and its affiliates.

         135.    Initially, the fact that NGD HOMESHARING was assuming these expenses caused

  DIFFENDERFER to believe that the real estate interests and opportunities would benefit NGD

  HOMESHARING and not HERNANDEZ or his affiliates individually.

         136.    In the latter half of 2018, Newgard expenses, made by Newgard employees who

  had been given copies of the NGD HOMESHARING credit card that DIFFENDERFER opened

  with her personal credit, began appearing on DIFFENDERFER’s American Express credit card.

         137.    HERNANDEZ was wrongfully commingling Newgard expenses with NGD

  HOMESHARING expenses and having NGD HOMESHARING pay for Newgard’s expenses on

  DIFFENDERFER’s credit card.

         138.    DIFFENDERFER began to express these concerns and her perceptions to

  HERNANDEZ, which HERNANDEZ rejected, and as a result, in the last quarter of 2018,



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  HERNANDEZ continued to marginalize and exclude DIFFENDERFER from due diligence

  discussions and disclosures that were being made to potential investors.

      DIFFENDERFER Objected to Improper Payments for Barbara Salk Settlement,
     HERNANDEZ’s Non-Disclosures to Investors and Further Objected to His Personal
     Retention of Salk’s Equity Interest Purchased with NGD HOMESHARING’s Funds

         139.    Throughout 2018, NGD HOMESHARING underwent extensive disclosures during

  the Series A due diligence process, in anticipation of a $10 million capital investment event

  scheduled to close in December 2018 for Series A funding from its principal investor to date,

  Airbnb.

         140.    During the latter half of 2018, DIFFENDERFER learned that Salk had previously

  made a demand upon HERNANDEZ, Newgard and NGD HOMESHARING for, inter alia,

  HERNANDEZ’s alleged breaches arising from unpaid compensation and promised equity in the

  Venture.

         141.    The compensation that Salk claimed HERNANDEZ had promised but failed to pay

  her stemmed from certain agreements for services between HERNANDEZ and Newgard that Salk

  claimed entitled her to an equity interest in NGD HOMESHARING and other interests.

         142.    HERNANDEZ hid this from DIFFENDERFER and all other investors until after

  he secretly reached a settlement with and made payment to Salk.

         143.    DIFFENDERFER learned that in May 2018, Salk, HERNANDEZ, Newgard and

  NGD HOMESHARING entered into a Settlement Agreement that jointly and severally obligated

  NGD HOMESHARING, HERNANDEZ individually, and Newgard to pay Salk.

         144.    Despite the Settlement Agreement making NGD HOMESHARING a joint and

  several obligor to Salk, HERNANDEZ subsequently misrepresented to DIFFENDERFER that

  NGD HOMESHARING owed 100% of the settlement payment to Salk.



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         145.    DIFFENDERFER became concerned that HERNANDEZ was causing NGD

  HOMESHARING to assume a disproportionate share of the payment obligation, and that he was

  essentially causing NGD HOMESHARING to pay for HERNANDEZ’s and Newgard’s liability

  to Salk. DIFFENDERFER also grew concerned that the Salk claim and settlement liability was

  not disclosed to investors, principally among them, Airbnb.

         146.    In effect, HERNANDEZ caused NGD HOMESHARING to pay 100% of the Salk

  settlement, while HERNANDEZ thereafter kept a significant portion of Salk’s presumed twenty

  percent (20%) ownership interest in NGD HOMESHARING’s for himself.

         147.    DIFFENDERFER confronted HERNANDEZ with his failure to disclose, as part of

  due diligence, the Salk dispute to investors, to explain why NGD HOMESHARING was liable

  and why HERNANDEZ received such a large portion of Salk’s putative ownership interest while

  DIFFENDERFER received none, which caused HERNANDEZ to lash out at DIFFENDERFER,

  saying it was “not her business” to disclose.

         148.    In response to DIFFENDERFER’s objections to HERNANDEZ having extracted

  the excess payment from NGD HOMESHARING to cover his own liability and that of Newgard,

  and his failure to disclose the claim and liability to investors, HERNANDEZ threatened and then

  made a demand upon DIFFENDERFER.

         149.    HERNANDEZ acknowledged the disproportionate payment from NGD

  HOMESHARING and then paradoxically demanded that DIFFENDERFER pay him personally

  between $100,000 and $500,000 in exchange for which HERNANDEZ would agree to cause NGD

  HOMESHARING to pay DIFFENDERFER her accrued “deferred compensation” owed to her as

  of that date. Essentially, HERNANDEZ wanted to use NGD HOMESHARING’s money to pay

  DIFFENDERFER her accrued “deferred compensation” in order for DIFFENDERFER to then



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  turn around and use those same funds to pay HERNANDEZ personally; thereby once again

  improperly enriching HERNANDEZ at NGD HOMESHARING’s and DIFFENDERFER’s

  expense.

         150.   HERNANDEZ also threatened DIFFENDERFER that she better “keep quiet”

  about the settlement transaction with Salk, or face termination. DIFFENDERFER refused and

  objected to making any personal payment and continued to oppose the improper use of NGD

  HOMESHARING’s funds.

         151.   HERNANDEZ also demanded that DIFFENDERFER give up a portion of her own

  equity to cover a portion of the Salk settlement payment. Specifically, HERNANDEZ demanded

  that DIFFENDERFER give HERNANDEZ 2.5% of DIFFENDERFER’s remaining unvested

  membership units.

         152.   When DIFFENDERFER refused the outrageous demands, HERNANDEZ

  temporarily dropped the issue, but then had NGD HOMESHARING’s CFO ask DIFFENDERFER

  to give up her additional 2.5.% unvested membership units, to which DIFFENDERFER again

  refused.

         153.   Subsequently, HERNANDEZ called DIFFENDERFER and Stamm into his office

  and demanded she agree to give up her additional 2.5% unvested membership units, stating that

  the value of the membership units would cover the Salk payment. In response to this demand,

  Stamm acted sincerely shocked and said he had no idea what was going on.

         154.   HERNANDEZ continued with the harassing behavior over the months leading up

  to DIFFENDERFER’s wrongful termination.

         155.   At one point, to end HERNANDEZ’s harassment, DIFFENDERFER offered to pay

  HERNANDEZ an amount equal to ten percent (10%) of the Salk settlement liability commensurate



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  with DIFFENDERFER’s ten percent (10%) unvested ownership                        interest in NGD

  HOMESHARING, in exchange for which DIFFENDERFER requested to vest in ten percent

  (10%) of what HERNANDEZ told DIFFENDERFER would have been Salk’s twenty percent

  (20%) ownership interest in NGD HOMESHARING had Salk not settled with her claims against

  the company. This would have resulted in DIFFENDERFER vesting in an additional two percent

  (2%) of NGD HOMESHARING issued membership units. HERNANDEZ ignored and then

  declined DIFFENDERFER’s offer.

         156.    Through the remainder of 2018, HERNANDEZ continued to irrationally demand a

  personal payment to himself from DIFFENDERFER to cover the Salk settlement payment,

  however, HERNANDEZ came to reduce his demand from DIFFENDERFER to $50,000 and

  threatened to discontinue her 1099 compensation if she did not adhere to that demand.

  DIFFENDERFER refused and maintained her objections to the manner in which HERNANDEZ

  dealt with her and with the Salk settlement obligation, and she insisted that HERNANDEZ provide

  her access to the records of the settlement and payment details, which he refused.

         157.    As a result of DIFFENDERFER’s objections, HERNANDEZ continued to exclude

  and marginalize DIFFENDERFER and her role at NGD HOMESHARING.

         DIFFENDERFER’s Deferred Compensation and Employment Terms are
  Confirmed in Writing to Induce DIFFENDERFER to Execute a New Operating Agreement
            and Ancillary Transaction Documents Related to Series A Financing

         158.    On December 5, 2018, DIFFENDERFER requested and was provided a written

  Compensation and Employment Verification letter (the “Employment Verification Letter”) from

  NGD HOMESHARING. A true and correct copy of the Employment Verification Letter is

  attached hereto as Exhibit “E”.

         159.    The Employment Verification Letter was intended to induce DIFFENDERFER to



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  execute a new operating agreement and ancillary transaction documents related to the Series A

  funding.

         160.   NGD HOMESHARING’s CFO signed the Employment Verification Letter,

  affirming that “Diffenderfer is currently the Co-Founder and Chief Marketing Officer of NGD

  Homesharing, LLC with offices in Miami and real estate holdings in Kissimmee, FL and Nashville.

  The company was founded in December of 2015 by Diffenderfer and the companies [sic] CEO,

  Harvey Hernandez.” See Exhibit “E”. Newgard’s and NGD HOMESHARING’s general counsel,

  Stamm, provided DIFFENDERFER a nearly identical letter that Stamm had signed.

         161.   The Verification letter also confirmed DIFFENDERFER’s employment status,

  reflecting the terms of the long-promised employment agreement, and expressly restated that

  DIFFENDERFER had been accruing “deferred compensation” of “$10,833.33 per month to be

  distributed January 1, 2019, at which point she will convert from a 1099 to a W-2 employee at the

  annual salaried rate of $250,000.” See Exhibit “E”.

          HERNANDEZ Extracts Key Intellectual Property, Plans, Signatures and
     Documents from DIFFENDERFER on False Pretenses in Preparation for Her Ouster

         162.   Starting on November 1, 2018, in anticipation of the Series A event, upon which

  DIFFENDERFER was affirmatively led to believe she would receive payment of her accrued

  “deferred compensation” as well as her long-promised employment contract for a guaranteed term,

  HERNANDEZ approached DIFFENDERFER and requested that she prepare and compile a

  comprehensive business, marketing and financial plan for NGD HOMESHARING.

         163.   As requested, on December 4, 2018, DIFFENDERFER delivered to HERNANDEZ

  a 70-page document drawn in large part from dozens of her prior business and financial model

  iterations, and presented HERNANDEZ with detailed financial modeling, a detailed

  organizational and operational plan, as well as key information about all aspects of Niido’s


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  website, app structure and development, relationships with consultants and creative agencies,

  among other things.

         164.   Once HERNANDEZ had extracted these ideas and documents from

  DIFFENDERFER, he began to make demands on DIFFENDERFER for her to sign various

  agreements in connection with the Series A funding transaction.

         165.   In December 2018, over DIFFENDERFER’s express objections, HERNANDEZ

  instructed DIFFENDERFER to sign and backdate by three years, to December 2, 2015, a

  “Consultant Non-Disclosure, Non-Disparagement and Non-Solicitation Agreement” (the

  “Backdated Agreement”) in favor of NGD HOMESHARING. A true and correct copy of the

  Backdated Agreement is attached as Exhibit “F”.

         166.   NGD HOMESHARING, LLC did not even exist in December 2015, since its

  Articles of Organization were not filed until September 2016.

         167.   HERNANDEZ instructed DIFFENDERFER that in connection with the Series A

  funding, and as the final condition to her receiving a payout of her accrued “deferred

  compensation” and a written executive employment agreement, that she needed to sign and date

  the Backdated Agreement as of December 2, 2015. HERNANDEZ thereafter caused his own

  signature to be placed on the document as CEO on behalf of NGD HOMESHARING backdated

  to December 2, 2015.

         168.   Fearing the threats and intimidation tactics HERNANDEZ had previously used

  against DIFFENDERFER including the threat that her refusal would be seen as “tortuously

  interfering” with an advantageous investment relationship, being fully-aware that HERNANDEZ

  would cause NGD HOMESHARING to not pay DIFFENDERFER her accrued “deferred

  compensation” and would not provide the long-promised executive employment agreement if she



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  refused to sign, DIFFENDERFER executed and dated the Backdated Document under protest.

         169.    On the Backdated Agreement, appearing before the parties’ signatures, reference is

  made to the “Defend Trade Secrets Act of 2016”, which was enacted by Congress in May 2016,

  five months after the Backdated Agreement referencing the Act purports to have been executed.

  See Exhibit “F”.

         170.    Unbeknownst to DIFFENDERFER at the time, December 2, 2015 was the same

  date that HERNANDEZ chose to falsely use when he manufactured and backdated his own “Letter

  of Engagement” with NGD HOMESHARING in 2018, on which HERNANDEZ based his own

  claim to accrued deferred compensation in the amount of $15,000 / month dating back to December

  2015. See Exhibit “G”. Although it is true that both DIFFENDERFER and HERNANDEZ agreed

  in December 2015 they would each receive, defer and accrue an annual salary of $250,000

  beginning at that time, and although it is true that HERNANDEZ repeatedly affirmed that

  agreement with DIFFENDERFER as she continued to devote her full time efforts for years without

  receiving any payments; neither of them signed any documents reflecting their agreement and

  certainly did not do so on NGD HOMESHARING letterhead in December 2015 as the company

  was not formed until September 2016.

         171.    HERNANDEZ manufactured and backdated his false “Letter of Engagement” in

  late-2018 so that it could be referenced as an authentic document on the aforementioned disclosure

  schedules (Exhibit “D”) produced by HERNANDEZ to close the Series A funding, showing his

  accrued deferred compensation as a documented liability of NGD HOMESHARING. The

  manufactured and backdated “Letter of Engagement” reflects it was mailed to HERNANDEZ at

  his residence located at 1451 Brickell Ave. Apt. 5001 Miami, FL 33131, an apartment building

  that was not constructed until 2017.



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         172.    Despite HERNANDEZ’s representations regarding DIFFENDERFER’s long-

  promised executive employment agreement and impending payout of DIFFENDERFER’s accrued

  deferred compensation, no new or additional consideration was given to DIFFENDERFER in

  exchange for her signature on the Backdated Agreement.

         173.    Later in December 2018, DIFFENDERFER was presented with yet another

  Amended and Restated Operating Agreement for her prompt signature before the end of December

  2018 (the “2019 Operating Agreement”). The 2019 Operating Agreement contained numerous

  objectionable provisions regarding DIFFENDERFER’s membership interest.

         174.    In the initial version provided to DIFFENDERFER, both she and the COO had been

  removed from the sections of the document that listed the Officers, indicating that the plan to

  terminate them was already underway and that initially they were to have been terminated prior to

  closing the Series A funding.

         175.    When DIFFENDERFER questioned why she was not listed as an Officer, she was

  told it was a simple mistake and she would be re-added.

         176.    Both DIFFENDERFER and the COO were terminated shortly after the Series A

  funding closed.

         177.    In the revised version of the 2019 Operating Agreement that re-listed

  DIFFENDERFER as an Officer, despite DIFFENDERFER’s repeated objections, HERNANDEZ

  again changed DIFFENDERFER’s vesting schedule and he removed DIFFENDERFER’s anti-

  dilution protection.

         178.    Specifically, the language used in DIFFENDERFER’s vesting schedule in Section

  13.18 of the 2017 Operating Agreement provided DIFFENDERFER with anti-dilution protection,

  such that in the event additional units issued to investors under the 2017 Operating Agreement,



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  DIFFENDERFER would have been issued sufficient additional units to ensure that her ownership

  interest as a percentage of all outstanding units would equate to seven and one-half percent (7.5%)

  of issued units as of the first anniversary of executing the 2017 Operating Agreement and ten

  percent (10%) of issued units as of the second anniversary.2 In the 2019 Operating Agreement,

  DIFFENDERFER’s anti-dilution protection was removed and the language used in Section 14.18

  therein to describe DIFFENDERFER’s ownership interest changed from a percentage interest to

  a set number of units,3 thereby subjecting DIFFENDERFER to dilution.

         179.    The change in DIFFENDERFER’s stock vesting schedule by HERNANDEZ is in

  violation of HERNANDEZ’ duties owed to DIFFENDERFER, including inter alia those duties

  owed as the majority member and manager of NGD HOMESHARING. By changing the




  2
          2017 Operating Agreement: Section 13.18 Diffenderfer Unit Vesting. Diffenderfer shall
  receive additional Class A Units pursuant to the following terms and conditions: (a) In order to be
  eligible to receive any Units pursuant to this Section 13.18, the Class A Majority shall have
  determined, in its good faith reasonable discretion, that Diffenderfer shall have dedicated
  substantially all of her time to the to the business of the Company, and shall not have engaged in
  any other business venture other than for a period of de minimis time. (b) Assuming the conditions
  of Section 13.18(a) shall have been fulfilled, on the one (1) year anniversary of the Effective Date,
  the Company shall issue Class A Units to Diffenderfer such that Diffenderfer shall, following such
  issuance, own 7.5% of the issued and outstanding Class A Units. (c) Assuming the conditions of
  Section 13.18(a) shall have been fulfilled, on the two (2) year anniversary of the Effective Date,
  the Company shall issue Class A Units to Diffenderfer such that Diffenderfer shall, following such
  issuance, own 10% of the issued and outstanding Class A Units. (emphasis added).
  3
          2019 Operating Agreement: Section 14.18 Diffenderfer Unit Vesting. Cindy Diffenderfer
  has the right to receive up to an aggregate of 650,000 Class A Units (as adjusted for
  recapitalizations, splits and the like) as set forth below: (a) In order to be eligible to receive any
  Class A Units pursuant to this Section 14.18, the Majority Members shall have determined, in its
  good faith reasonable discretion, that Diffenderfer shall have dedicated substantially all of her time
  to the to the business of the Company, and shall not have engaged in any other business venture
  other than for a period of de minimis time. (b) Assuming the conditions of Section 14.18(a) shall
  have been fulfilled as of such date, on November 29, 2018, the Company shall issue 487,500 Class
  A Units to Diffenderfer. (c) Assuming the conditions of Section 14.18(a) shall have been fulfilled
  as of such date, on November 29, 2019, the Company shall issue Class A Units to Diffenderfer
  such that Diffenderfer shall, following such issuance, [sic] 162,500 Class A Units to Diffenderfer.
  (emphasis added).

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  terminology of DIFFENDERFER’s vesting schedule in the 2019 Operating Agreement,

  HERNANDEZ uniquely harmed DIFFENDERFER by reducing her ownership interest and

  subjecting it to further dilution to further his own interests and without a legitimate business

  purpose.

         180.    Once again, like the 2017 Operating Agreement, the 2019 Operating Agreement

  also contemplated and treated DIFFENDERFER as an employee – as opposed to an independent

  contractor – of NGD HOMESHARING as it required her to dedicate “substantially all of her time

  to the to the business of the Company, and [] not [] engage[] in any other business venture other

  than for a period of de minimis time” in order for her equity interests to vest. A true and correct

  copy of relevant pages of 2019 Operating Agreement are attached as Exhibit “H”.

         181.    DIFFENDERFER contested HERNANDEZ’s authority to make these significant

  and material changes and was met with aggression and condescension.

         182.    Newgard’s and NGD HOMESHARING’s CFO, general counsel Stamm, and

  HERNANDEZ called, texted and emailed DIFFENDERFER on Christmas Eve, Christmas Day

  and New Year’s Eve with constantly moving deadlines to induce DIFFENDERFER to sign

  agreements that were detrimental to her.

         183.    DIFFENDERFER tried to negotiate terms in the 2019 Operating Agreement, but

  all her requests were rejected. She then tried to delay signing the 2019 Operating Agreement until

  she secured her long-promised written executive employment agreement, which by that point had

  been negotiated, drafted and agreed but not executed, as well as payout of her accrued “deferred

  compensation” based upon HERNANDEZ’s and NGD HOMESHARING’s numerous

  representations that the employment agreement and payout would be forthcoming once the Series

  A funding closed.



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         184.    When confronted with DIFFENDERFER’s demand that she receive her written

  employment agreement and confirm payout of her accrued deferred compensation before she

  would execute the “take it or leave it” 2019 Operating Agreement, HERNANDEZ simply had

  DIFFENDEFER’s signature-block removed from the 2019 Operating Agreement. See Exhibit

  “H”. HERNANDEZ told DIFFENDERFER that based on the language of the 2017 Operating

  Agreement, DIFFENDERFER’s signature was unnecessary on the 2019 Operating Agreement

  because her percentage of ownership and corresponding ability to vote her membership units were

  too small to prevent the 2019 Operating Agreement from taking effect.

         185.    Although the investment funds were received by NGD HOMESHARING in

  December 2018, the Series A event was slightly delayed by HERNANDEZ and other parties and

  did not close until January 4, 2019.

         186.    To present date, DIFFENDERFER has never executed the 2019 Operating

  Agreement. Nonetheless, the 2019 Operating Agreement was signed by the other equity members

  and given an effective date of January 4, 2019. See Exhibit “H”.

         187.    The 2019 Operating Agreement creates a Board of Managers that shall manage the

  business and affairs of NGD HOMESHARING. At all times material, HERNANDEZ was the only

  member of the Board of Managers.

         188.    Like the 2017 Operating Agreement, the 2019 Operating Agreement includes

  exculpatory language intended to waive statutory and common law fiduciary duties owed to

  DIFFENDERFER in Article VII, which language is manifestly unreasonable, particularly under

  the circumstances present here.

         189.    Also, like the 2017 Operating Agreement, the 2019 Operating Agreement contains

  a Section titled “Restrictive Covenants”. Specifically, Section 4.13 therein reads:



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                 Section 4.13 Restrictive Covenants.

                 (a) As a material inducement to the Company and to each other Member to
                 enter into this Agreement, each Member (other than Airbnb and Brookfield
                 and their respective Affiliates) agrees that, for so long as such Member
                 remains a Member and for a period of 18 months following the date on
                 which such Member ceases to be a Member, such Member shall not, and
                 shall cause his, her or its Affiliates not to, directly or indirectly:

                         (i) own any interest in, manage, control, participate in, consult with,
                 render services for (as a director, officer, employee, agent, broker, partner,
                 contractor, consultant or otherwise) or be or become engaged or involved
                 in any Restricted Business within the Restricted Territory, including by
                 being or becoming an organizer, owner, co-owner, trustee, promoter,
                 Affiliate, investor, lender, partner, joint venture, stockholder, officer,
                 director, employee, independent contractor, manager, salesperson,
                 representative, associate, consultant, agent, broker, supplier, licensor,
                 analyst or advisor of, to or with any Restricted Business;

                         (ii) make any investment (whether equity, debt or otherwise) in, lend
                 or otherwise provide any money or assets to, or provide any guaranty or
                 other financial assistance to any Restricted Business within the Restricted
                 Territory; or

                        (iii) provide any information, assistance, support, product,
                 technology or intellectual property to any Person engaged or involved in
                 any Restricted Business within the Restricted Territory.

                 (b) Notwithstanding anything to the contrary in Section 4.13(a), a Member
                 may, directly or indirectly, own, solely as an investment, the equity
                 securities of any corporation engaged in the Restricted Business which are
                 publicly traded on a national or regional stock exchange or on the over-the-
                 counter market, but only if such Member (i) is not a controlling person of,
                 or a member of a group which controls, such corporation, (ii) does not
                 directly or indirectly own more than one percent (1%) of any class of
                 securities of such corporation, and (iii) does not undertake any of the
                 activities contemplated by Section 4.13(a) above (other than the purchase
                 of such equity securities) and otherwise has no active participation in the
                 business of such corporation.

         190.    As with the 2017 Operating Agreement, the 2019 Operating Agreement defines

  “Restricted Business” as “any business, activity, enterprise or venture that, directly or indirectly

  (including through any partnership, limited liability company, corporation, joint venture or similar



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  arrangement (whether now existing or formed hereafter)), conducts activities or provides products

  or services of the type conducted, offered or provided, or presently proposed to be conducted,

  offered or provided by the Company from time to time.” Similarly, the term “Restricted Territory”

  is defined as “the United States of America.” See Exhibit “H”.

         191.    As under the 2017 Operating Agreement, the Restrictive Covenants under the 2019

  Operating Agreement are arbitrarily and selectively enforced and are waived, released and ignored

  with respect to numerous members and executives of NGD HOMESHARING, including

  HERNANDEZ.

         192.    In early 2019, based on HERNANDEZ’s promise that if DIFFENDERFER signed

  one last additional ancillary transaction document relating to intellectual property rights that she

  would receive the long-promised written employment agreement and accrued deferred

  compensation, and under the threat that if she did not sign the document she would be terminated

  that same day without receiving her accrued compensation; under protest, DIFFENDERFER

  executed a “Confirmatory Assignment Agreement” dated January 21, 2019 (the “IP Assignment

  Agreement”). A true and correct copy of the January 21, 2019 IP Assignment Agreement is

  attached as Exhibit “I”.

         193.    The IP Assignment Agreement purported to disclaim and assign to NGD

  HOMESHARING any rights DIFFENDERFER may have to the company’s intellectual property,

  including the business plan, web site and app-architecture and related proprietary works that

  DIFFENDERFER created even before NGD HOMESHARING existed. See Exhibit “I”.

      DIFFENDERFER is Summarily Demoted as a Plan to Have Her Quit, then Her
    “Employment” was Terminated without Cause, and Her Personal Computer Data was
                      Improperly Accessed and Misappropriated

         194.    On January 31, 2019, a mere ten days after HERNANDEZ induced



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  DIFFENDERFER to execute the IP Assignment Agreement, HERNANDEZ abruptly informed

  DIFFENDERFER that effective March 1, 2019 she would no longer serve as Chief Marketing

  Officer, as he had already hired a replacement unbeknownst to DIFFENDERFER and the rest of

  the leadership team.

         195.    Thereafter DIFFENDERFER’s interactions and discussions with HERNANDEZ

  deteriorated significantly and he: (a) ignored her inquiries regarding his delay in executing her

  executive employment agreement that he and NGD HOMESHARING had long promised,

  negotiated, drafted, represented would be forthcoming as of January 2019, and which was used to

  induce DIFFENDERFER’s execution of the IP Assignment Agreement and Backdated

  Agreement, and (b) did not start compensating her at the rate of $250,000 / year plus benefits, but

  instead stopped paying her altogether without informing her that her payment of $10,000 / month

  would not be made for February 2019.

         196.    Nor was DIFFENDERFER paid the salary accruals of “deferred compensation”

  from December 2015 through December 2019 that were due to be paid in January 2019 as

  represented to DIFFENDERFER in writing by CFO Zimmerman and General Counsel Stamm on

  December 5, 2018 in the Employment Verification Letters provided by those NGD

  HOMESHARING representatives, and innumerable times verbally both prior and subsequent

  thereto by HERNANDEZ.

         197.    While HERNANDEZ was demeaning and aggressive toward DIFFENDERFER,

  he simultaneously ignored her requests to know why she had not received the money and

  agreement that was promised to her and he continued to marginalize and remove her from NGD

  HOMESHARING’s operations. He did this by “promoting” DIFFENDERFER into obsolesces

  and giving her a made-up title that HERNANDEZ had no intention of holding any responsibility,



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  hoping DIFFENDERFER would grow frustrated and quit. To that end, on February 15, 2019,

  HERNANDEZ caused an Investor Update Newsletter to issue explaining to investors why they

  would be hearing and seeing even less of his co-founder, DIFFENDERFER, stating:

                Our Co-founder and CMO, Cindy Diffenderfer will be promoted
                into a new role as Chief Impact Officer and Head of Corporate
                Culture.

                This role will have overall strategic and operational responsibility
                for ensuring an integrated approach to social and community impact
                efforts. As CIO, Cindy will provide inspirational leadership to
                develop and implement efforts to advance the company’s goals and
                solutions with a focus on philanthropic initiatives and community
                leadership. The position will be part of the senior leadership team
                that drives the overall strategy for the organization.

                As the CIO, she will oversee the development and implementation
                for advancing community impact, including: convening partners,
                building coalitions, forging common agendas, organizing
                community awareness, initiating grants and leveraging resources
                focused at providing affordable housing in the communities we
                operate and beyond.

                Cindy will continue to work closely with the CEO, in close
                collaboration with the organization’s C-suite and leadership at
                Airbnb’s Social Impact teams. She will also guide the creation and
                maintenance of the company’s Corporate Culture. She will oversee
                brand training, team on-boarding and on-going employee
                engagement programming to establish an environment people thrive
                in and build a company people aspire to work for. She will coach
                and inspire others to build brand affinity within their teams, partners
                and throughout our communities.

                See Exhibit “J”.

         198.   Just four days later, on February 19, 2019, at 4:55pm, HERNANDEZ formally

  terminated DIFFENDERFER’s “employment” with NGD HOMESHARING without prior notice

  or cause and she was presented with a written employment termination letter. See February 19,

  2019 “Termination of Employment” letter once again informing DIFFENDERFER that the

  company intended to enforce the Restrictive Covenants against her, attached as Exhibit “K”.


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         199.    DIFFENDERFER was escorted out of NGD HOMESHARING’s offices while her

  company-issued laptop and other personal items were confiscated and were never returned to her

  possession.

         200.    NGD HOMESHARING owes DIFFENDERFER her employment compensation

  through February 19, 2019. Notably, while other members of the executive team including CFO

  Seth Zimmerman, CTO Todd Butler, the COO, and the newly hired CMO Kim Walker each

  received cash bonuses in excess of $50,000.00 following the Series A funding, DIFFENDERFER

  did not receive any compensation and then had her employment terminated.

         201.    Shortly after being escorted out of the building, DIFFENDERFER discovered that

  NGD HOMESHARING, through its agents and representatives, not only accessed all business-

  related files and emails contained on her company-issued laptop, but also used her computer and

  her personal access passwords that were linked to her icloud account to improperly access,

  misappropriate, manipulate, delete, corrupt and/or destroy DIFFENDERFER’s individual,

  personal files stored on the laptop and on web-based accounts and servers, including emails, and

  files stored in her personal account with Dropbox, the web-based file hosting service.

         202.    Many of the destroyed personal files pertained to DIFFENDERFER’s other

  investments and projects unrelated to NGD HOMESHARING and included key business and

  personal financial documents and other records that are irreplaceable.

         203.    Of significance, NGD HOMESHARING, by accessing DIFFENDERFER’s

  records, had access to her attorney-client correspondence and work-product, not only for this

  instant dispute, but for other personal dealings with attorneys outside the interests of NGD

  HOMESHARING.

         204.    DIFFENDERFER has attempted to but has been unable to restore her personal



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  Dropbox files, which are no longer accessible due to NGD HOMESHARING’s unlawful actions.

                    DIFFENDERFER’s Credit Damaged Due to Late and
                   Missed Credit Card Payments by NGD HOMESHARING

         205.    Following her termination, DIFFENDERFER attempted to access her American

  Express credit account online, and learned that NGD HOMESHARING, through its agents or

  representatives, had removed her as an authorized user on her own credit card account, even though

  it was her personal credit that was being used to maintain the account for NGD HOMESHARING.

         206.    DIFFENDERFER learned that there was a large outstanding unpaid balance that

  had remained on the account for several months, and that NGD HOMESHARING had failed to

  make timely monthly payments on the account. This was not only contrary to her credit agreement

  with American Express but was also contrary to her verbal agreement with HERNANDEZ and

  NGD HOMESHARING when she agreed to lend her credit for NGD HOMESHARING’s use and

  benefit.

         207.    Due to NGD HOMESHARING’s failure to timely pay the monthly balances on the

  American Express account, which was reported to the major credit reporting agencies,

  DIFFENDERFER’s credit was negatively impacted and damaged due to the breach of the oral

  agreement to timely pay all balances owed on the account.

                                COUNT I:
  UNPAID WAGES AND ACCRUALS FROM DECEMBER 2015 THROUGH FEBRUARY
             19, 2019– BREACH OF EMPLOYMENT AGREEMENT
                -Against NGD HOMESHARING and HERNANDEZ-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.




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         208.   DIFFENDERFER performed work and provided services as a misclassified

  employee for HERNANDEZ and NGD HOMESHARING as described above, including by

  serving as NGD HOMESHARING’s Chief Marketing Officer.

         209.   At all material times, DIFFENDERFER was employed by HERNANDEZ and

  NGD HOMESHARING under an oral employment agreement.

         210.   Commencing December 2015, while HERNANDEZ was promoting the Venture

  that eventually became NGD HOMESHARING, HERNANDEZ, as the managing agent of their

  partnership and as the prospective majority member and manager of NGD HOMESHARING,

  extended an oral agreement to DIFFENDERFER for her employment at the rate of $250,000

  annually, conditioned upon payout of the annual salary being deferred and accruing until certain

  fundraising benchmarks were met.

         211.   DIFFENDERFER accepted HERNANDEZ’s offer of employment and devoted her

  full-time and best efforts to the Venture that became known as NGD HOMESHARING.

         212.   HERNANDEZ also told DIFFENDERFER that he too was deferring his own

  compensation in connection with the Venture and that his annual salary was also $250,000 and it

  too would accrue and be paid once certain fundraising benchmarks were met.

         213.   As DIFFENDERFER later discovered, HERNANDEZ represented in writing to

  Airbnb that he would be paying and/or had paid himself his deferred accrued compensation for

  this same period.

         214.   Commencing December 1, 2017, after an initial fundraising target had been

  achieved, HERNANDEZ caused NGD HOMESHARING to pay DIFFENDERFER a portion of

  her annual salary in the amount of $10,000.00 per month, and represented to DIFFENDERFER




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  that the remaining $10,833.33 per month of back wages would continue to accrue each month and

  would be added to the accruals that DIFFENDERFER had been deferring since December 2015.

         215.    HERNANDEZ told DIFFENDERFER that she would be paid as an independent

  contractor and therefore the $10,000 per month that would be paid as an un-deferred portion of her

  agreed to annual salary would be 1099 income.

         216.    One year later, in December 2018, the December 2015 oral employment agreement

  was confirmed in writing in an Employment Verification Letter sent by NGD HOMESHARING’s

  CFO and general counsel Stamm to DIFFENDERFER. See Exhibit “E”.

         217.    In the Employment Verification Letter, NGD HOMESHARING confirms the

  agreement to compensate DIFFENDERFER with an annual salary of $250,000, and further

  represented that only $10,000 per month was then being paid to DIFFENDERFER with the

  remaining portion of her salary accruing and to be paid out in January 1, 2019. See Id.

         218.    In early 2019, after closing on the Series A funding, as the manager and majority

  member of NGD HOMESHARING, HERNANDEZ caused NGD HOMESHARING to pay

  himself more than $550,000 of his own accrued compensation going back to December 2015.

  Additionally, HERNANDEZ caused NGD HOMESHARING to record on its books and records

  as of January 4, 2019 an additional liability owed to HERNANDEZ for his outstanding accruals

  of deferred compensation of more than $160,000.

         219.    Dissimilarly, in early 2019, after closing on the Series A funding, as the Manager

  and majority member of NGD HOMESHARING, HERNANDEZ caused NGD HOMESHARING

  to refuse to pay DIFFENDERFER any of her accrued deferred compensation going back to

  December 2015 and terminated her without further compensation.




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         220.    At the time of her termination on February 19, 2019, NGD HOMESHARING had

  paid DIFFENDERFER the $10,000 monthly payments from December 2017 through January

  2019, for a total of $140,000 of what NGD HOMESHARING treated as 1099 income.

         221.    NGD HOMESHARING failed to pay DIFFENDERFER any of the accrued W2

  wages she was owed from December 2015 up to and through February 19, 2019 at the agreed upon

  amount of $250,000.00 annually, less the amounts DIFFENDERFER received as 1099 income of

  $10,000 per month from December 2017 to January 2019.

         222.    Further, NGD HOMESHARING failed to pay DIFFENDERFER any part of the

  $10,000 monthly portion of her salary for February 1, 2019 through the date she was terminated

  on February 19, 2019.

         223.    HERNANDEZ’s and NGD HOMESHARING’s refusal and failure to compensate

  DIFFENDERFER in full for all compensation and wages owed was in violation of the laws of the

  State of Florida for the performance of her services.

         224.    DIFFENDERFER has suffered, and continues to suffer, damages as a result of this

  failure to pay all compensation and wages owed.

         225.    Additionally, by misclassifying DIFFENDERFER as an independent contractor,

  NGD HOMESHARING is liable for back taxes paid by DIFFENDERFER as a misclassified 1099

  contractor that should have been paid by her employer, as well as for all employee benefits which

  she was improperly denied, including without limitation health insurance, automobile allowances,

  severance compensation payable to other executive employees of NGD HOMESHARING who

  are terminated without cause, and participation in any qualified or unqualified Employee Stock

  Ownership Plans maintained by NGD HOMESHARING.




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         226.     Pursuant to Florida Statutes §448.08, DIFFENDERFER is entitled to recover costs

  of suit and reasonable attorney’s fees.

         WHEREFORE, DIFFENDERFER demands entry of a judgment in her favor against

  HERNANDEZ and NGD HOMESHARING for unpaid wages, pre-judgment interest, and

  attorneys’ fees pursuant to Fla. Stat. § 448.08, and any and all other relief that the Court deems

  just and proper.

                                   COUNT II:
  UNPAID WAGES AND ACCRUALS FROM DECEMBER 2015 THROUGH FEBRUARY
                       19, 2019 – UNJUST ENRICHMENT
                -Against NGD HOMESHARING and HERNANDEZ-

         Plaintiff DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         227.     DIFFENDERFER performed work and provided services for HERNANDEZ and

  NGD HOMESHARING as described above, including by serving as NGD HOMESHARING’s

  Co-Founder and Chief Marketing Officer.

         228.     Since at least December 2015 to February 19, 2019, DIFFENDERFER devoted her

  full-time and best efforts to the Venture and ultimately to NGD HOMESHARING, fulfilling

  numerous      duties,   materially    and    directly   furthering   HERNANDEZ’s          and     NGD

  HOMESHARING’s success.

         229.     Both HERNANDEZ and NGD HOMESHARING have accepted and retained the

  benefit conferred by DIFFENDERFER’s services.

         230.     In December 2015, HERNANDEZ and DIFFENDERFER agreed the fair value of

  DIFFENDERFER’s services was $250,000 annually.

         231.     Commencing December 1, 2017, after an initial fundraising target had been

  achieved, HERNANDEZ caused NGD HOMESHARING to pay DIFFENDERFER a portion of


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  the fair value of her services in the amount of $10,000 per month, and represented to

  DIFFENDERFER that the remaining portion of the fair value for her services ($10,833.33 per

  month) would continue to accrue each month and would be added to the accruals that

  DIFFENDERFER had been deferring as fair value for her services since December 2015.

         232.    In December 2017, HERNANDEZ told DIFFENDERFER that she would be paid

  as an independent contractor and therefore the $10,000 per month that would be paid as an un-

  deferred portion of the fair value for her services would be treated as 1099 income.

         233.    One year later, in December 2018, NGD HOMESHARING re-confirmed in an

  Employment Verification Letter that the fair value of the services that DIFFENDERFER had been

  performing since December 2015 was $250,000 annually and that DIFFENDERFER had been

  accruing the un-paid portion of the fair value for her services since that time. See Exhibit “E”.

         234.    In early 2019, after closing on the Series A funding, HERNANDEZ caused NGD

  HOMESHARING to pay himself his own accrued compensation going back to December 2015.

         235.    Dissimilarly, in early 2019, after closing on the Series A funding, HERNANDEZ

  caused NGD HOMESHARING to terminate DIFFENDERFER, refusing to pay DIFFENDERFER

  any of the accrued un-paid portion of the fair value for her services.

         236.    HERNANDEZ’s and NGD HOMESHARING’s refusal and failure to compensate

  DIFFENDERFER in full for the fair value of her services was in violation of the laws of the State

  of Florida.

         237.    DIFFENDERFER has suffered, and continues to suffer, damages as a result of this

  failure to pay the compensation and wages owed.




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         238.    The circumstances render the HERNANDEZ’s and NGD HOMESHARING’s

  retention of the benefit of DIFFENDERFER’s inequitable unless DIFFENDERFER is paid the full

  fair value of her services.

         239.    Pursuant to Florida Statutes §448.08, DIFFENDERFER is entitled to recover costs

  of suit and reasonable attorney’s fees.

         WHEREFORE, DIFFENERFER demands entry of a judgment in her favor against

  HERNANDEZ and NGD HOMESHARING for unpaid accrued portion of the fair value for her

  services, of pre-judgment interest, and attorneys’ fees pursuant to Fla. Stat. § 448.08, and any and

  all other relief that the Court deems just and proper.

                                           COUNT III:
                                BREACH OF FIDUCIARY DUTIES
                                 -Against HARVEY HERNANDEZ-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         240.    HERNANDEZ           has    continually    owed    on-going     fiduciary   duties   to

  DIFFENDERFER starting inter alia: (a) in August 2015 as DIFFENDERFER’s friend, confidant

  and business partner who he requested DIFFENDERFER place her trust and confidence in as they

  formed a partnership of which HERNANDEZ served as the managing agent, which later became

  known as NGD HOMESHARING; then (b) in September 2016 as the self-appointed Manager of

  NGD HOMESHARING; then (c) in November 2017 as the self-appointed Supermajority Member

  and de facto sole controlling interest and Manager of NGD HOMESHARING; and subsequently

  (d) in January 2019, as the sole member of the Board of Managers while remaining the self-

  appointed majority member of NGD HOMESHARING.




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         241.    The on-going fiduciary duties gave rights to DIFFENDERFER and obligated

  HERNANDEZ to, inter alia: (a) account for the partnership/company and hold as trustee for the

  partnership/company any property, profit, or benefit derived by the partner in the conduct or

  derived from a use by the partner of partnership/company property, including the appropriation of

  a partnership/company opportunity; (b) refrain from dealing with the partnership/company in the

  conduct of the partnership/company business as or on behalf of a party having an interest adverse

  to the partnership/company; (c) refrain from competing with the partnership/company in the

  conduct of the partnership/company business before the dissolution of the partnership/company;

  (d) refrain from engaging in grossly negligent or reckless conduct, intentional misconduct, or a

  knowing violation of law; (e) have complete candor in disclosing fully all of the facts and

  circumstances surrounding a transaction involving DIFFENDERFER as his partner/minority

  member; (f) act with loyalty and care; and (g) not engage in oppressive acts and self-dealing to the

  unique (and not derivative) detriment of DIFFENDERFER, specifically pertaining to

  DIFFENDERFER’s right to receive her full, equitable, vested ownership interest in NGD

  HOMESHARING that was deceptively taken from her, her right to receive accrued deferred

  compensation, and her right to not be wrongfully discriminated against and terminated from her

  position with NGD HOMESHARING.

         242.    Since December 2015, the unequal power and bargaining positions that existed

  between HERNANDEZ and DIFFENDERFER have made DIFFENDERFER dependent on

  HERNANDEZ for, inter alia, determining: (a) when and how much compensation she would be

  paid; (b) when and how much of an ownership interest she would receive in the Venture that

  DIFFENDERFER co-founded and spent nearly four years successfully developing, for most of

  which time she went without any compensation; and (c) what information DIFFENDERFER



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  would be given access to regarding the Venture she co-founded, including its finances, operation

  and key decision making.

         243.   Since they began working on the Venture together, on numerous occasions

  HERNANDEZ requested DIFFENDERFER place her trust in him, which she did, and

  HERNANDEZ accepted that trust and undertook to protect and benefit DIFFENDERFER using

  his superior position of authority and control over her compensation, employment, ownership

  interest and access to information regarding the Venture that became known as NGD

  HOMESHARING.

         244.   HERNANDEZ breached his fiduciary duties as, inter alia:

                a. HERNANDEZ misrepresented to DIFFENDERFER, and otherwise failed to
                   disclose when there was a duty to do so, that as of November 29, 2017, he had
                   not actually contributed cash in the amount of $1.5 million to NGD
                   HOMESHARING, which was the reason HERNANDEZ gave
                   DIFFENDERFER for the widely disparate ownership interests between them as
                   reflected in the 2017 Operating Agreement. Had HERNANDEZ accurately
                   disclosed his cash contribution, DIFFENDERFER would have offered to match
                   his contribution for an equal ownership interest in NGD HOMESHARING or
                   she would have demanded a larger equity interest for herself based on her
                   substantial contribution to the Venture relative to HERNANDEZ’s as of
                   November 29, 2017.

                b. HERNANDEZ surreptitiously altered DIFFENDERFER’s vesting schedule in
                   the final 2017 Operating Agreement, making DIFFENDERFER’s entire equity
                   interest contingent and subject to a two-year vesting schedule. Thereafter,
                   HERNANDEZ forced DIFFENDERFER to execute the 2017 Operating
                   Agreement under duress demanding she immediately execute the 46-page single
                   space agreement with virtually no time to review or consult an attorney regarding
                   the document, while threatening DIFFENDERFER that her refusal to
                   immediately sign the document would result in her termination, loss of her
                   ownership interest and potentially create liability for her by interfering with
                   NGD HOMESHARING’s an advantageous investment relationship. In addition
                   to the lost value of her ownership interest caused by these breaches, by not
                   immediately vesting in any portion of her ownership interest, DIFFENDERFER
                   was also harmed as she: (i) suffered an adverse tax consequence by not being
                   able to share in the loss NGD HOMESHARING reported in 2017 when she filed
                   her personal tax return as she was not a member until 2018; (ii) was not permitted
                   to inspect NGD HOMESHARING’s books and records until at least November


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                29, 2018 as she was not a member until she partially vested on that date,
                preventing DIFFENDERFER from learning the actual financial affairs and
                dealings of the company sooner than that time; and (iii) was excluded from
                various related real estate investment opportunities that were made available to
                other vested members of NGD HOMESHARING in proportion to their vested
                percentage interests, on the basis that because her ownership interest did not vest
                she was not permitted to participate in the investment opportunities at any level.

             c. HERNANDEZ misrepresented to DIFFENDERFER, and otherwise failed to
                disclose when there was a duty to do so, that: (i) Salk made claims against NGD
                HOMESHARING and HERNANDEZ relating to the period when
                HERNANDEZ, Salk and DIFFENDERFER were the sole partners in the
                Venture; (ii) NGD HOMESHARING was solely liable for a settlement payment
                owed to Salk; (iii) that HERNANDEZ was using NGD HOMESHARING’s
                funds to settle with Salk so that HERNANDEZ could personally acquire Salk’s
                equity interest for himself and to the exclusion of DIFFENDERFER; and (iv)
                using HERNANDEZ’s position of control over NGD HOMESHARING to
                demand that DIFFENDERFER personally pay HERNANDEZ money or give
                HERNANDEZ DIFFENDERFER’s right to her unvested equity interest in
                exchange for HERNANDEZ causing NGD HOMESHARING to payout
                DIFFENDERFER’s accrued “deferred compensation”.

             d. HERNANDEZ surreptitiously waived, released, excluded and otherwise
                ignored numerous executives, investors and himself from complying with the
                Restrictive Covenants in the 2017 and 2019 Operating Agreements and from
                other similar restrictive covenants, statutory and common law duties of loyalty,
                permitting himself and his favored executives and investors who provide
                HERNANDEZ with a personal benefit the ability to compete with and engage
                in disloyal acts against NGD HOMESHARING while simultaneously and
                oppressively seeking to bind DIFFENDERFER to such Restrictive Covenants
                and repeatedly threatening to enforce those covenants and duties against
                DIFFENDERFER without a legitimate business purpose or legitimate business
                interest to protect, in order to gain leverage over DIFFENDERFER to further
                weaken her position and to extract additional concessions from
                DIFFENDERFER for HERNANDEZ’s personal benefit.

             e. HERNANDEZ misrepresented to DIFFENDERFER, and otherwise failed to
                disclose when there was a duty to do so, that DIFFENDERFER had a right to
                reserve one or more condominium units at the pre-market “Friends and Family”
                rate, which on information and belief HERNANDEZ took advantage of for
                himself and extended to other members of NGD HOMESHARING in the
                company’s two new development projects, Natiivo Austin and Natiivo Miami.



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             f. Prior to DIFFENDERFER’s execution of the IP Assignment and the Backdated
                Agreement, HERNANDEZ unilaterally resolved and decided to terminate
                DIFFENDERFER’s position and services for NGD HOMESHARING with the
                specific intent to disavow the many promises to DIFFENDERFER, including
                those regarding payment of “deferred compensation” and promised executive
                employment agreement. For several months, HERNANDEZ intentionally
                withheld and actively secreted his termination decision from DIFFENDERFER,
                and strung DIFFENDERFER along and intentionally caused DIFFENDERFER
                to rely upon his promises as a means of procuring additional concessions from
                DIFFENDERFER.           HERNANDEZ caused DIFFENDERFER to waive
                significant and valuable rights, claims and entitlements, and procured
                DIFFENDERFER’s signature on the January 21, 2019 IP Assignment, and the
                December 2018 Backdated Agreement, to her detriment.

             g. HERNANDEZ used his position of control over NGD HOMESHARING to
                refuse to pay DIFFENDERFER the accrued “deferred compensation” that she
                was repeatedly promised since December 2015 (including in writing in
                December 2018), while HERNANDEZ caused NGD HOMESHARING to pay
                his own deferred compensation for that same period, all as part of
                HERNANDEZ’s ongoing efforts to cause DIFFENDERFER to resign so she
                would not vest in her unvested membership units in accordance with Section
                14.18 of the 2019 Operating Agreement and so he could pay himself with
                DIFFENDERFER’s unpaid accrued “deferred compensation”.

             h. HERNANDEZ used his position of control over NGD HOMESHARING to
                subject DIFFENDERFER to oppressive, harassing, bullying and demeaning
                conduct so she would resign her role at NGD HOMESHARING and give up her
                unvested ownership interests—and when that failed, terminating her without
                cause so her unvested membership units would not vest in accordance with
                Section 14.18 of the 2019 Operating Agreement.

             i. HERNANDEZ surreptitiously altered DIFFENDERFER’s vesting schedule and
                anti-dilution protection in the 2019 Operating Agreement, making
                DIFFENDERFER’s entire ownership interest subject to dilution. In the 2019
                Operating Agreement, DIFFENDERFER’s anti-dilution protection that existed
                in Section 13.18 of the 2017 Operating Agreement was removed and the
                language used in Section 14.18 of the 2019 Operating Agreement to describe
                DIFFENDERFER’s ownership interest changed from a percentage interest to a
                set number of units, thereby subjecting DIFFENDERFER to dilution. In
                conjunction with Sections 4.1 and 4.3 of the 2019 Operating Agreement that give
                HERNANDEZ as the sole member on the Board of Managers authority to issue
                additional membership units and protects against dilution for a different class of



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                   units, these changes had a unique detrimental impact on DIFFENDERFER and
                   to benefit HERNANDEZ without a legitimate business purpose.

                j. HERNANDEZ misrepresented to DIFFENDERFER, and otherwise failed to
                   disclose when there was a duty to do so, that he was not properly supervising the
                   use of DIFFENDERFER’s American Express credit card that she entrusted
                   HERNANDEZ with and allowed NGD HOMESHARING to use at
                   HERNANDEZ’s personal request, as the monthly balances were not paid on
                   time and as HERNANDEZ permitted or otherwise recklessly disregarded that
                   his Newgard employees used the credit card account for Newgard expenses and
                   not in conformance with the agreement reached between HERNANDEZ and
                   DIFFENDERFER pursuant to which she entrusted him with her personal credit.

                k. Prior to November 2017, HERNANDEZ used his position of control over NGD
                   HOMESHARING to            surreptitiously redirect NGD HOMESHARING’s
                   business opportunities and uniquely harming DIFFENDERFER by using NGD
                   HOMESHARING as a marketing tool and as a means to steer real estate
                   development business to himself through Newgard, Brookfield, other
                   HERNANDEZ affiliated companies and other investors in NGD
                   HOMESHARING instead of placing the real property deals in NGD
                   HOMESHARING or its subsidiaries in accordance with HERNANDEZ’s prior
                   representations and the parties’ agreement; all while NGD HOMESHARING
                   incurred the costs associated with obtaining, converting, and marketing the
                   deals, and thereafter managing and renting the properties.

                l. HERNANDEZ has intentionally misrepresented to news media and
                   DIFFENDERFER’s peers in her industry that HERNANDEZ is the sole founder
                   of Niido and Natiivo and has excluded references and denied credit to
                   DIFFENDERFER who not only is a Co-founder of the parties’ Venture that
                   became known as NGD HOMESHARING and later began operating under the
                   tradenames Niido and Natiivo, but she also served as Chief Marketing Officer
                   and spent years as the driving force behind taking the company from a concept
                   to a viable and valuable enterprise. HERNANDEZ’s intentional exclusion of
                   DIFFENDERFER in media statements, press releases and similar materials and
                   disclosures in which he refers to himself or allows others to refer to him as the
                   company’s founder usurps credit due to DIFFENDERFER and harms her
                   professional reputation and diminishes her career prospects, investment
                   opportunities and marketability to other entrepreneurial ventures going forward.

         245.   As a direct and proximate result of HERNANDEZ breaching his duties,

  DIFFENDERFER has suffered damages, including without limitation: (a) the loss of her promised

  proportionate ownership interest in NGD HOMESHARING based on an equitable determination

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  of 1) the amount of sweat equity and the monetary value of the deferred compensation that

  DIFFENDERFER contributed to the Venture that became known as NGD HOMESHARING

  between August 2015 to November 29, 2017, versus 2) the amount of the sweat equity and

  monetary contribution HERNANDEZ actually made to the Venture that became known as NGD

  HOMESHARING during that same period; (b) the tax consequence DIFFENDERFER suffered as

  a result of not being able to share in NGD HOMESHARING’s losses in 2017; (c) the ability to

  invest in and profit from related real estate investment opportunities that were made available to

  other vested members of NGD HOMESHARING in proportion to their vested percentage

  interests; (d) the proportionate share of Salk’s equity interest that DIFFENDERFER should have

  received after NGD HOMESHARING paid Salk to forego her interest; (e) the ability to find

  gainful employment in her chosen industry due to arbitrary and oppressive threats to enforce

  Restrictive Covenants against DIFFENDERFER that have been expressly waived and/or impliedly

  released against numerous similarly situated investors and executives, including HERNANDEZ

  himself; (f) the ability to invest and profit from the “Friends and Family” pre-market rate for

  Natiivo Austin and Natiivo Miami; (g) the amount of accrued “deferred compensation” that

  DIFFENDERFER was repeatedly promised since December 2015 that HERNANDEZ caused

  NGD HOMESHARING not to pay to DIFFENDERFER; (h) the value of the unvested membership

  units that will no longer vest as DIFFENDERFER’s “employment” has been terminated; (i) the

  lost value of DIFFENDERFER’s ownership interest in NGD HOMESHARING after losing anti-

  dilution protection; (j) damage to DIFFENDERFER’s personal credit and credit history as she ran

  large credit card balances that remained unpaid due to HERNANDEZ failing to ensure proper use

  and payment of the card; and (k) damage to DIFFENDERFER’s professional reputation and

  marketability to future employers and investors.



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         246.    In connection with the aforementioned breaches by HERNANDEZ, and

  DIFFENDERFER’s proximate losses, HERNANDEZ acted recklessly and with such malice,

  conscious disregard and callous indifference to DIFFENDERFER’s rights, and with actual

  knowledge that his wrongful conduct would likely result in injury to DIFFENDERFER, that

  punitive damages are warranted.

         WHEREFORE, DIFFENDERFER demands entry of a judgment in her favor against

  HERNANDEZ for damages, pre-judgment interest, and punitive damages in connection with the

  Defendant’s tortious conduct, and any and all other relief that the Court deems just and proper.

                                 COUNT IV:
       FRAUDULENT INDUCEMENT – UNPAID WAGES AND ACCRUALS FROM
                  DECEMBER 2015 THROUGH FEBRUARY 2019
             -Against HARVEY HERNANDEZ and NGD HOMESHARING-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         247.    In December 2015 and numerous times thereafter, HERNANDEZ both personally

  and through his and NGD HOMESHRING’s representatives and agents, including NGD

  HOMESHARING’s CFO Seth Zimmerman and general counsel Stamm, represented to

  DIFFENDERFER orally and in writing that starting in December 2015 she was being compensated

  at the rate of $250,000 annually, which amount was being accrued as “deferred compensation”

  that would be paid upon a fundraising benchmark being met.

         248.    Similarly, in December 2017, and numerous times thereafter, HERNANDEZ both

  personally and through his and NGD HOMESHRING’s representatives and agents, including

  NGD HOMESHARING’s CFO Seth Zimmerman and general counsel Stamm, represented to

  DIFFENDERFER orally and in writing that starting in December 2017 she was being compensated

  at the rate of $250,000 annually, but that she would receive $10,000 each month in cash as 1099


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  income and would continue to accrue the unpaid portion of her $250,000 annual salary (i.e.

  $10,833/month in addition to the $500,000 already then owed to her) as “deferred compensation”

  that would be paid upon a fundraising benchmark being met.

         249.    When the foregoing representations were made regarding the prospective payment

  of DIFFENDERFER’s accrued “deferred compensation”, HERNANDEZ knew or should have

  known that they were untrue as he did not intend to actually pay DIFFENDERFER for the agreed

  upon fair value of her services. Alternatively, HERNANDEZ made the foregoing

  misrepresentations negligently or without knowledge of whether he, the pre-entity formation

  Venture or NGD HOMESHARING would ever adhere to the representations made to

  DIFFENDERFER regarding payment of her “deferred compensation” for her services.

         250.    HERNANDEZ made the foregoing misrepresentations, and otherwise caused them

  to be made to DIFFENDERFER intending that she would rely upon them and thereby continue to

  dedicate her full-time, skills, labor, creative talents, reputation, contacts and resources to the

  Venture and eventually NGD HOMESHARING.

         251.    DIFFENDERFER justifiably relied upon these misrepresentations to her detriment

  in deciding to dedicate years of her life to working without compensation and thereafter taking

  further actions in reliance on the misrepresentations, including without limitation executing

  additional documents including the 2017 Operating Agreement, the Backdated Agreement, the IP

  Assignment Agreement and other documents that HERNANDEZ requested and otherwise

  demanded DIFFENDERFER sign in exchange for receiving her long-promised but illusory

  accrued “deferred compensation” and executive employment agreement.

         252.    As a direct and proximate result of HERNANDEZ’s misrepresentations,

  DIFFENDERFER has sustained damages including without limitation: (a) the opportunity costs



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  of years’ of her life’s labor without receiving remuneration; (b) the aggregate value of the unpaid

  accrued “deferred compensation” that she has never received; (c) by virtue of her being induced

  to execute the 2017 Operating Agreement, being deprived of her proportionate equitable

  ownership percentage interest in NGD HOMESHARING as promised and agreed between

  DIFFENDERFER and HERNANDEZ in 2015, 2016 and 2017; (d) by virtue of her being induced

  to execute the 2017 Operating Agreement, the corresponding loss of her voting and management

  rights resulting from her decreased ownership percentage interest in the NGD HOMESHARING;

  (e) by virtue of her losing her voting and management rights, her inability to prevent NGD

  HOMESHARING from entering the 2019 Operating Agreement, removing her anti-dilution

  protection and further decreasing the value of her ownership interest; (f) by virtue of her being

  induced to execute the 2017 Operating Agreement, her purported obligation to adhere to the

  Restrictive Covenants therein and correspondingly the Restrictive Covenants in the 2019

  Operating Agreement; (g) by virtue of her being induced to sign the Backdated Agreement, her

  purported obligation to adhere to the restrictive covenants and other obligations set forth therein;

  and (h) by virtue of her being induced to sign the IP Assignment Agreement, her purported

  assignment of intellectual property rights that are rightfully hers.

         253.    In connection with the aforementioned tortious conduct by HERNANDEZ, and

  DIFFENDERFER’s proximate losses, HERNANDEZ acted recklessly and with such malice,

  conscious disregard and callous indifference to DIFFENDERFER’s rights, and with actual

  knowledge that his wrongful conduct would likely result in injury to DIFFENDERFER, that

  punitive damages are warranted. So, too, NGD HOMESHARING, though HERNANDEZ as its

  sole manager, knowingly condoned, ratified and consented to the egregious misconduct, and is

  liable for punitive damages.



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         WHEREFORE, DIFFENDERFER demands judgment against HERNANDEZ and NGD

  HOMESHARING for damages, together with prejudgment interest, taxable costs, reasonable

  attorney’s fees, and punitive damages in connection with the Defendants’ tortious conduct, and

  such other and further relief the Court deems just and proper.

                                COUNT V:
    FRAUDULENT INDUCEMENT – FALSIFIED CAPITAL CONTRIBUTION IN 2017
                       OPERATING AGREEMENT
                     -Against HARVEY HERNANDEZ-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         254.    On numerous occasions prior to November 29, 2017, HERNANDEZ told

  DIFFENDERFER that he personally invested $1.5 million “in cash” into the Venture and NGD

  HOMESHARING.

         255.    Similarly, in the 2017 Operating Agreement, HERNANDEZ represented that his

  capital contribution to NGD HOMESHARING was $1.5 million. This capital contribution is

  reflected and was always disclosed as an investment and not as a loan.

         256.    When the foregoing pre-contractual representations were made, HERNANDEZ

  knew or should have known that they were untrue as he had not invested $1.5 million of cash into

  the Venture and NGD HOMESHARING. The actual cash he invested into the Venture and NGD

  HOMESHARING was less 1/10th that amount. Alternatively, HERNANDEZ made the foregoing

  misrepresentations negligently or without knowledge of their truth or falsity.

         257.    HERNANDEZ made the foregoing misrepresentations to DIFFENDERFER

  intending that DIFFENDERFER would rely upon them in order to justify to herself why she was

  foregoing a larger proportionate equitable ownership percentage interest and corresponding voting

  and management rights in NGD HOMESHARING in light of the tremendous personal and


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  professional efforts she expended in creating, developing, refining and administering the Venture

  and ultimately the company.

         258.   DIFFENDERFER justifiably relied upon these misrepresentations to her unique

  detriment in deciding to enter into the 2017 Operating Agreement and taking further actions

  thereon.

         259.   As a direct and proximate result, DIFFENDERFER has sustained damages

  including without limitation: (a) by virtue of her being induced to execute the 2017 Operating

  Agreement, the decreased value of her right to receive a proportionate equitable ownership

  percentage interest in NGD HOMESHARING as promised and agreed between DIFFENDERFER

  and HERNANDEZ in 2015, 2016 and 2017; (b) by virtue of her being induced to execute the 2017

  Operating Agreement, the corresponding loss of her voting and management rights resulting from

  her decreased ownership percentage interest in the NGD HOMESHARING; (c) by virtue of her

  losing her voting and management rights, her inability to prevent NGD HOMESHARING from

  entering the 2019 Operating Agreement, removing her anti-dilution protection; and (d) by virtue

  of her being induced to execute the 2017 Operating Agreement, her purported obligation to adhere

  to the Restrictive Covenants therein and correspondingly the Restrictive Covenants in the 2019

  Operating Agreement.

         260.   In connection with the aforementioned tortious conduct by HERNANDEZ, and

  DIFFENDERFER’s proximate losses, HERNANDEZ acted recklessly and with such malice,

  conscious disregard and callous indifference to DIFFENDERFER’s rights, and with actual

  knowledge that his wrongful conduct would likely result in injury to DIFFENDERFER, that

  punitive damages are warranted.




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         WHEREFORE, DIFFENDERFER demands judgment against HERNANDEZ for

  damages, together with prejudgment interest, taxable costs, reasonable attorney’s fees, and

  punitive damages in connection with the Defendant’s tortious conduct, and such other and further

  relief the Court deems just and proper.

                                   COUNT VI:
            RETALIATORY DISCHARGE – PRIVATE WHISTEBLOWER ACT
                         -Against NGD HOMESHARING-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         261.    This is an action for damages for retaliatory termination against Defendant NGD

  HOMESHARING pursuant to Florida Statutes § 448.102.

         262.    At all material times, DIFFENDERFER was a misclassified employee of NGD

  HOMESHARING as defined in Florida Statutes §448.101(2), as she performed services for NGD

  HOMESHARING and was under its control and direction for wages and other renumeration.

         263.    At all material times, NGD HOMESHARING was an employer as defined in

  Florida Statutes §448.101(3) as it is a private company that employs ten or more persons.

         264.    On numerous occasions, as set forth in detail hereinabove, DIFFENDERFER

  objected to NGD HOMESHARING’s inaction, tantamount to neglecting statutory and common

  law duties, in enforcing Restrictive Covenants that appear in the 2017 and 2019 Operating

  Agreements, and non-disclosures and false disclosures of material information and financial

  information to investors and in connection with its investment raising activities as directed by its

  Manager HERNANDEZ. These included, without limitation, concealing the source of funds for

  HERNANDEZ’s purported capital contributions in the 2017 and 2019 Operating Agreements

  when DIFFENDERFER asked for same; presenting the Backdated Agreement as if it were



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  genuine, authentic and executed on the date stated therein; concealing and failing to disclose facts

  regarding Salk and the Salk settlement; and concealing and failing to disclose the COO’s direct

  conflict of interest to investors.

          265.    The inaction, non-disclosures and false disclosures that DIFFENDERFER objected

  to were in violation of NGD HOMESHARING’s governing documents, federal laws, state

  statutory and common law, and regulations governing transactions such as the private offering to

  investors that closed in early 2019.

          266.    As a direct result of DIFFENDERFER’s objections, NGD HOMESHARING,

  through its agents and representatives, engaged in unlawful retaliatory conduct, including without

  limitation:

                  1. attempting to extract monies from DIFFENDERFER as a condition of
                     maintaining her employment and wages;

                  2. removing anti-dilution protection from DIFFENDERFER’s vesting schedule;

                  3. refusing to execute the negotiated, drafted and promised written employment
                     agreement to DIFFENDERFER;

                  4. refusing to pay DIFFENDERFER compensation owed to her; and discharged
                     DIFFENDERFER from her employment after her continued objections
                     revealed she intended to countermand her employer and ensure disclosure of
                     such information to investors;

                  5. demoting and marginalizing DIFFENDERFER and her position; and

                  6. limiting DIFFENDERFER’s access to information and financial records of the
                     business she originated, co-founded and was charged with managing.

          267.    NGD HOMESHARING’s treatment of DIFFENDERFER constituted a retaliatory

  personnel action in violation of Florida Statutes § 448.102(3) that prohibits an employer from

  taking retaliatory action against an employee because that employee has: “Objected to, or refused

  to participate in an activity, policy, or practice of the employer which is in violation of law, rule,



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  or regulation.”

         268.       NGD HOMESHARING’s unlawful retaliation against DIFFENDERFER was

  willful, malicious and taken with reckless indifference to DIFFENDERFER’s rights.

         269.       As a result of NGD HOMESHARING’s unlawful, retaliatory conduct,

  DIFFENDERFER has suffered damages, including but not limited to economic and non-economic

  damages.

         WHEREFORE, DIFFENDERFER demands judgment against NGD HOMESHARING for

  economic damages, including lost wages, benefits, and other remuneration; front pay and back

  pay; and other compensatory damages allowable under law; reinstatement of employment; an

  injunction against the violative conduct; emotional distress damages, prejudgment interest and

  post-judgment interest; statutory attorneys’ fees and costs, and any other and further relief as the

  Court deems just and proper.

                                  COUNT VII:
      VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT, 18 U.S.C. § 1030
                        -Against NGD HOMESHARING-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         270.       This is an action for civil damages against Defendant NGD HOMESHARING for

  violations of 18 U.S.C. § 1030, the “Computer Fraud and Abuse Act.”

         271.       At all material times, DIFFENDERFER’s company-issued computer was a

  protected computer as defined in 18 U.S.C. § 1030(e)(2), and DIFFENDERFER was the owner of

  certain protected information stored and maintained therein, including on cloud/web-based storage

  systems, including without limitation Dropbox and icloud that contained here password protected

  information and materials.



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         272.    As the owner of information stored in a protected computer used in the operation

  of a business DIFFENDERFER is entitled to the protections and remedies under the Computer

  Fraud and Abuse Act.

         273.    Defendant NGD HOMESHARING itself through others under its direct control,

  and without authorization or permission and otherwise exceeded authorized access from

  DIFFENDERFER, improperly accessed DIFFENDERFER’s private and personal information

  stored on the computer and information accessed via the computer using DIFFENDERFER’s

  passwords and cloud/web-based storage systems that belonged exclusively to and was owned by

  DIFFENDERFER.

         274.    In so doing, NGD HOMESHARING caused harm to the misappropriated

  information and improperly impaired the integrity, access or availability of data, programs,

  systems or information to DIFFENDERFER.

         275.    As a direct and proximate result of NGD HOMESHARING’s unlawful

  misappropriation, DIFFENDERFER has suffered losses as defined by 18 U.S.C. §

  1030(c)(4)(A)(i)(I), and §1030(g) in excess of $5,000, including but not limited to costs incurred

  in connection with assessing the damages caused by the violations and remediation efforts

  including legal fees, economic damages, and other consequential damages.

         WHEREFORE,         DIFFENDERFER          requests   judgment     against   Defendant     NGD

  HOMESHARING for damages and prejudgment interest, as well as recovery from Defendant of

  the misappropriated information and all copies thereof, and such other and further relief as this

  Court deems just and equitable.




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                                COUNT VIII:
     VIOLATION OF FLORIDA COMPUTER ABUSE AND DATA RECOVERY ACT
                       -Against NGD HOMESHARING-

          Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

          276.   This is an action for civil damages against Defendant, NGD HOMESHARING for

  violations of Florida Statutes § 668.801 et seq., Florida’s “Computer Abuse and Data Recovery

  Act.”

          277.   At all material times, DIFFENDERFER’s company-issued computer was a

  protected computer as defined in Florida Statutes §668.802(6), and DIFFENDERFER was the

  owner of certain protected information stored and maintained therein, including on cloud/web-

  based storage systems, including without limitation Dropbox and icloud that contained her

  password protected information and materials.

          278.   As the owner of information stored in a protected computer used in the operation

  of a business DIFFENDERFER is entitled to the protections and remedies under the Florida

  Computer Abuse and Recovery Act.

          279.   Defendant, NGD HOMESHARING itself through others under its direct control,

  and without authorization or permission and otherwise exceeded authorized access, from

  DIFFENDERFER, improperly accessed DIFFENDERFER’s private and personal information

  stored on the computer and information accessed via the computer using DIFFENDERFER’s

  passwords and cloud/web-based storage systems that belonged exclusively to and was owned by

  DIFFENDERFER.

          280.   In so doing, NGD HOMESHARING caused harm to the misappropriated

  information and improperly impaired the integrity, access or availability of data, programs,



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  systems or information.

         281.    As a direct and proximate result of NGD HOMESHARING’s unlawful

  misappropriation, DIFFENDERFER has suffered losses in excess of $5,000, including but not

  limited to costs incurred in connection with assessing the damages caused by the violations and

  remediation efforts, economic damages, and other consequential damages.

         282.    Pursuant to Florida Statutes § 668.804(2), DIFFENDERFER is entitled to recover

  her reasonable attorney’s fees upon prevailing herein.

         WHEREFORE,         DIFFENDERFER          requests   judgment     against   Defendant     NGD

  HOMESHARING for damages and prejudgment interest, as well as recovery from Defendant of

  the misappropriated information and all copies thereof, together with costs of suit and reasonable

  attorney fees, and such other and further relief as this Court deems just and equitable.

                                            COUNT IX:
                                          CONVERSION
                                  -Against NGD HOMESHARING-

          Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         283.    At all material times, DIFFENDERFER was the owner of certain property

  consisting of protected data, files, and information stored in her company-issued computer, and

  data, files and information stored outside of the computer on web-based servers but accessed via

  certain protected information, including passwords, located in the computer.

         284.    Defendant NGD HOMESHARING itself through others under its direct control,

  and without authorization or permission, accessed DIFFENDERFER’s data, files and information

  and misappropriated her property for its own use, and causing some of the property to be impaired,

  damaged or destroyed.



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         285.    DIFFENDEFER has made demand upon NGD HOMESHARING for the return of

  the misappropriated property to no avail.

         286.    As a direct and proximate result of NGD HOMESHARING’s unlawful

  misappropriation, DIFFENDERFER has been damaged.

         WHEREFORE, DIFFENDERFER requests judgment against NGD HOMESHARING for

  damages and prejudgment interest, costs of suit, and such other and further relief as this Court

  deems just and equitable.

                                      COUNT X:
                  BREACH OF CONTRACT FOR EXTENSION OF CREDIT
                            -Against NGD HOMESHARING–

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 about as though fully set forth herein.

         287.    This is an action for damages against Defendant NGD HOMESHARING for breach

  of contract.

         288.    In July 2018, DIFFENDERFER entered into an oral agreement with NGD

  HOMESHARING in which she agreed to lend the company her personal credit with American

  Express to open a charge account to be used solely by NGD HOMESHARING, and its employees.

         289.    The accord was expressly conditioned on NGD HOMESHARING’s agreement to

  pay all statement balances in full each month, on a timely basis, so that DIFFENDERFER’s credit

  would not be adversely affected.

         290.    DIFFENDERFER performed the agreement in full, and American Express

  extended a credit account for use by the company and its employees that was guaranteed by

  DIFFENDERFER as an extension of DIIFENDERFER’s credit to NGD HOMESHARING.

         291.    NGD HOMESHARING breached the agreement by failing to pay all statement



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  balances in full each month, or in a timely manner.

         292.    NGD HOMESHARING further breached the agreement by permitting employees

  of Newgard to utilize the charge account for Newgard expenses, without authorization of

  DIFFENDERFER.

         293.    As   a result    of NGD HOMESHARING’s                  breach of the agreement,

  DIFFENDERFER has been damaged, and her credit has been adversely affected.

         WHEREFORE,         DIFFENDERFER          requests   judgment     against   Defendant     NGD

  HOMESHARING for damages, including special damages for damage to her credit score, and

  prejudgment interest, costs of suit, and such other and further relief as this Court deems just and

  equitable.

                                 COUNT XI:
          REFORMATION OF THE 2017 AND 2019 OPERATING AGREEMENTS
                 -Against HERNANDEZ and NGD HOMESHARING-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         294.    After becoming business partners in the third quarter of 2015, DIFFENDERFER

  and HERNANDEZ agreed they would each receive a proportionate equitable ownership

  percentage interest in the Venture that became known as NGD HOMESHARING, based on their

  respective contributions of time, effort and money.

         295.    DIFFENDERFER contributed her full-time, personal and professional efforts and

  deferred all her compensation for a period of more than two years after dedicating herself to the

  Venture that became known as NGD HOMESHARING.




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         296.    HERNANDEZ remained involved on a part-time basis and assumed a management

  role but not a day-to-day operational or key-person role in the development and execution of the

  Venture and its business plan.

         297.    On numerous occasions prior to November 29, 2017, HERNANDEZ told

  DIFFENDERFER that he personally invested $1.5 million “in cash” into the Venture and NGD

  HOMESHARING.

         298.    Similarly, in the 2017 Operating Agreement, HERNANDEZ represented that his

  capital contribution to NGD HOMESHARING was $1.5 million. This capital contribution is

  reflected and was always disclosed as an investment and not as a loan.

         299.    When these representations were made, HERNANDEZ knew they were untrue as

  he had not invested $1.5 million of cash into the Venture and NGD HOMESHARING. The actual

  cash he invested into the Venture and NGD HOMESHARING was less than 1/10th that amount.

         300.    In the years and months leading up to the 2017 Operating Agreement, and based

  upon her discussions with HERNANDEZ, DIFFENDERFER proceeded on the basis that her

  membership interest in NGD HOMESHARING would be proportionate and equitable, and

  commensurate with her significant and tireless efforts on behalf of HERNANDEZ and NGD

  HOMESHARING, and the hugely successful results of her labor.

         301.    Unbeknownst to DIFFENDERFER, in connection with the initial round of

  capitalization, HERNANDEZ negotiated and finalized the 2017 Operating Agreement without her

  material knowledge or participation.      That Agreement contained a hugely disproportionate

  ownership percentage interest as between DIFFENDERFER and HERNANDEZ.

         302.    Until DIFFENDERFER was first presented with the 2017 Operating Agreement on

  the morning of November 29, 2017, when HERNANDEZ used coercion, deceit and intimidation



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  to extract her signature, DIFFENDERFER relied upon her many discussions with HERNANDEZ,

  where he had reassured her that their respective membership interests in NGD HOMESHARING

  would be fair and proportionate and reflective of their respective efforts and contributions to the

  Venture.

         303.    Although it was not immediately apparent to DIFFENDERFER, HERNANDEZ

  intended that DIFFENDERFER would also rely upon his misrepresentations about his $1.5 million

  “cash” investment.

         304.    On November 29, 2017, HERNANDEZ continued to make misrepresentations of

  material fact to DIFFENDERFER, and using these misrepresentations, intentionally deceived,

  intimidated, coerced and induced DIFFENDERFER into foregoing a larger share of her ownership

  interest in his favor, and therefore allowing HERNANDEZ a disproportionately larger ownership

  percentage interest and corresponding voting and management rights in NGD HOMESHARING.

         305.    Through HERNANDEZ’s fraud and misconduct, duress and coercion,

  DIFFENDERFER was duped, induced and intimidated into executing the 2017 Operating

  Agreement that provided her a smaller disproportionate and inequitable interest, that did not reflect

  the parties’ prior agreement or the tremendous personal and professional efforts she expended in

  creating, developing, refining and administering the Venture and ultimately NGD

  HOMESHARING.

         306.    Rather than risk injury to NGD HOMESHARING, and being threatened with the

  loss of her position, accrued “deferred compensation” and promised employment agreement, and

  fearing having her exhaustive efforts over the prior two years go to waste, and further based upon

  HERNANDEZ’s false representations and active fraud regarding his sizeable personal investment,

  DIFFENDERFER reluctantly executed the 2017 Operating Agreement under protest. As a result,



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  the 2017 Operating Agreement resulted from DIFFENDERFER’s justifiable mistake and

  HERNANDEZ’s fraud and other misconduct by HERNANDEZ.

         307.    HERNANDEZ’s equity interest as reflected in the 2019 Operating Agreement is

  also disproportionate and follows the same disproportionate equity distribution as reflected in the

  2017 Operating Agreement. It is significantly based upon a non-existent $1.5 million “cash”

  capital contribution that HERNANDEZ falsified. Although DIFFENDERFER did not execute the

  2019 Operating Agreement, it purports to bind her as an owner and member, and adheres to the

  same disproportionate membership interests as between herself and HERNANDEZ.

         308.    Due to her mistake brought on by HERNANDEZ’s fraud and misconduct,

  DIFFENDERFER is entitled to reformation of the 2017 Operating Agreement and the ensuing

  2019 Operating Agreement, and specifically the capitalization table and ownership structure that

  assigns the disproportionate distribution as between HERNANDEZ and DIFFENDEFER.

         309.      The ownership distribution as between HERNANDEZ and DIFFENDERFER is

  completely divisible from, and independent of the rights of other members and investors and other

  parties to the Operating Agreements, who are not affected by the relief sought herein.

         310.      DIFFENDERFER has no adequate remedy at law.

         WHEREFORE, DIFFENDERFER requests entry of a judgment of reformation of the 2017

  and 2019 Operating Agreements, and requests this Court exercise its equitable powers to reform

  the portions of the 2017 and 2019 Operating Agreements that set forth the disproportionate

  ownership distribution to reflect the proportionate and equitable division of ownership as between

  herself and HERNANDEZ as per their pre-contractual discussions and intent as well as their actual

  contributions of time, effort and money to NGD HOMESHARING during the relevant period, and

  that eliminates the inequitable and disproportionate ownership percentages that resulted entirely



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  from HERNANDEZ’s fraud and misconduct, together with costs of suit and such other and further

  relief as this Court deems just and proper.

                                COUNT XII:
    PARTIAL RESCISSION OF 2017 AND 2019 OPERATING AGREEMENTS DUE TO
                     FRAUD AND OTHER MISCONDUCT
                 -Against HERNANDEZ & NGD HOMESHARING-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         311.    After becoming business partners in the third quarter of 2015, DIFFENDERFER

  and HERNANDEZ agreed they would each receive a proportionate equitable ownership

  percentage interest in the Venture that became known as NGD HOMESHARING, based on their

  respective contributions of time, effort and money.

         312.    DIFFENDERFER contributed her full-time, personal and professional efforts and

  deferred all her compensation for a period of more than two years after dedicating herself to the

  Venture that became known as NGD HOMESHARING.

         313.    HERNANDEZ remained involved on a part-time basis and assumed a management

  role but not a day-to-day operational or key-person role in the development and execution of the

  Venture and its business plan.

         314.    On numerous occasions prior to November 29, 2017, HERNANDEZ told

  DIFFENDERFER that he personally invested $1.5 million “in cash” into the Venture and NGD

  HOMESHARING.

         315.    Similarly, in the 2017 Operating Agreement, HERNANDEZ represented that his

  capital contribution to NGD HOMESHARING was $1.5 million. This capital contribution is

  reflected and was always disclosed as an investment and not as a loan.




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         316.    When the foregoing pre-contractual representations were made, HERNANDEZ

  knew or should have known that they were untrue as he had not invested $1.5 million of cash into

  the Venture and NGD HOMESHARING. The actual cash he invested into the Venture and NGD

  HOMESHARING was less than 1/10th that amount. Alternatively, HERNANDEZ made the

  foregoing misrepresentations negligently or without knowledge of their truth or falsity.

         317.    HERNANDEZ made the foregoing misrepresentations to DIFFENDERFER

  intending that DIFFENDERFER would rely upon them in order to justify to herself why she was

  foregoing a larger proportionate equitable ownership percentage interest and corresponding voting

  and management rights in NGD HOMESHARING in light of the tremendous personal and

  professional efforts she expended in creating, developing, refining and administering the Venture

  and ultimately the company.

         318.    DIFFENDERFER justifiably relied upon these misrepresentations to her unique

  detriment in entering into the 2017 Operating Agreement and taking further actions thereon.

         319.    In addition, DIFFENDERFER executed the 2017 Operating Agreement under

  conditions of extreme duress and coercion, based upon HERNANDEZ’s and others’ threats and

  verbal and physical intimidation, and real and significant risk of termination, and loss of income.

         320.    Rather than risk injury to NGD HOMESHARING, and given threatened the loss of

  her position, reputation, and promised employment agreement, and having her exhaustive efforts

  over the prior two years go to waste, and based upon HERNANDEZ’s false representations

  regarding his sizeable personal investment, DIFFENDERFER reluctantly executed the 2017

  Operating Agreement under protest.

         321.    HERNANDEZ’s equity interest as reflected in the 2019 Operating Agreement is

  disproportionate and inequitable and follows the equity interest as reflected in the 2017 Operating



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  Agreement, and is the product of his numerous false misrepresentations that he contributed $1.5

  million in capital. Although DIFFENDERFER did not execute the 2019 Operating Agreement, it

  purports to bind her as an owner and member, and with regard to her ownership percentage, as it

  adheres to the same disproportionate membership interests as between herself and HERNANDEZ

  that are the product of HERNANDEZ’s fraud.

         322.   As a direct and proximate result of these misrepresentations, DIFFENDERFER has

  sustained damages including inter alia: (a) by virtue of her being induced to execute the 2017

  Operating Agreement, being deprived of her proportionate equitable ownership percentage interest

  in NGD HOMESHARING as promised and agreed between DIFFENDERFER and

  HERNANDEZ in 2015, 2016 and 2017; (b) by virtue of her being induced to execute the 2017

  Operating Agreement, the corresponding loss of her voting and management rights resulting from

  her decreased ownership percentage interest in the NGD HOMESHARING; (c) by virtue of her

  losing her voting and management rights, her inability to prevent NGD HOMESHARING from

  entering the 2019 Operating Agreement, removing her anti-dilution protection; and (d) by virtue

  of her being induced to execute the 2017 Operating Agreement, her purported obligation to adhere

  to the Restrictive Covenants therein and correspondingly the Restrictive Covenants in the 2019

  Operating Agreement.

         323.   DIFFENDERFER never agreed to the 2019 Operating Agreement and, further,

  rescinds the 2017 Operating Agreement as between herself, NGD HOMESHARIING and

  HERNANEZ, with regard to DIFFENDERFER’s and HERNANDEZ’s disproportionate

  membership interests, which are based entirely upon HERNANDEZ’s duress, deceit, and

  fraudulent misrepresentations of a non-existent $1.5 million cash investment.




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         324.    Due to the fraud and misconduct worked upon DIFFENDERFER by

  HERNANDEZ, partial rescission of the 2017 and 2019 Operating Agreements is appropriate, in

  particular, with respect to the capitalization tables contained therein as affecting HERNANDEZ’s

  and DIFFENDERFER’s respective membership interests. The ownership distribution as between

  HERNANDEZ and DIFFENDERFER is completely divisible from, and independent of the rights

  of other members and investors, and other parties to the 2017 and 2019 Operating Agreements

  who are not affected by the relief sought herein.

         325.    HERNANDEZ and NGD HOMESHARING are on notice that DIFFENDERFER

  never agreed to the 2019 Operating Agreement and that she has rescinded the 2017 Operating

  Agreement as provided herein.

         326.    DIFFENDERFER has no adequate remedy at law.

         WHEREFORE, DIFFENDERFER requests entry of a judgment of partial rescission of the

  2017 and 2019 Operating Agreements, in particular with respect to the capitalization tables

  contained therein as affecting HERNANDEZ’s and DIFFENDERFER’s respective membership

  interests, costs of suit and such other and further relief as this Court deems just and proper.

                                  COUNT XIII:
    RESCISSION OF IP ASSIGNMENT AGREEMENT DUE TO FRAUD AND OTHER
                                 MISCONDUCT
                         -Against NGD HOMESHARING-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         327.    This is an action against Defendant, NGD HOMESHARING for rescission of a

  contract procured by fraud and other improper means.

         328.    On January 21, 2019, DIFFENDERFER executed the IP Assignment Agreement in

  which she assigned intellectual property rights to NGD HOMESHARING.


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         329.   HERNANDEZ, on behalf of NGD HOMESHARING and as its authorized

  representative, knowingly and intentionally induced DIFFENDERFER into signing the Agreement

  through false representations and promises, specifically including without limitation his

  representations regarding payment of DIFFENDERFER’s accrued but unpaid “deferred

  compensation”.

         330.   Additionally, in order to induce DIFFENDERFER into executing the IP

  Assignment Agreement, HERNANDEZ verbally represented and promised he would be extending

  to DIFFENDERFER a formal written employment agreement upon her signing the IP Assignment

  Agreement.

         331.   At the time of making the representations to DIFFENDERFER, HERNANDEZ

  knew these were false as HERNANDEZ had no intention to perform as promised, and intended to

  induce DIFFENDERFER into executing the IP Assignment Agreement so that she would

  relinquish her intellectual property rights and provide them to NGD HOMESHARING. Indeed,

  HERNANDEZ refused to sign a written employment agreement, he demoted DIFFENDERFER

  10-days later and discharged DIFFENDERFER less than one month later.

         332.   DIFFENDERFER executed the IP Assignment Agreement in reliance on

  HERNANDEZ’s false promises and misrepresentations and would not have executed the IP

  Assignment Agreement but for the false promises regarding extending DIFFENDERFER a written

  employment agreement.

         333.   As a direct and proximate result of being induced to execute the IP Assignment

  Agreement, DIFFENDERFER has been damaged.

         334.   Due to HERNANDEZ’s fraud and misconduct worked upon DIFFENDERFER,

  rescission of the IP Assignment Agreement is appropriate.



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         335.    NGD HOMESHARING is on notice that DIFFENDERFER has rescinded the IP

  Assignment Agreement.

         336.    DIFFENDERFER has no adequate remedy at all.

         WHEREFORE, Plaintiff, CINDY DIFFENDERFER requests entry of a judgment of

  rescission of the IP Assignment Agreement dated January 21, 2019, costs of suit and such other

  and further relief as this Court deems just and proper.

                                 COUNT XIV:
     RESCISSION OF BACKDATED AGREEMENT DUE TO FRAUD AND RELATED
                                MISCONDUCT
                        -Against NGD HOMESHARING-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         337.    This is an action against Defendant, NGD HOMESHARING for rescission of a

  contract procured by fraud and other improper means.

         338.    In December 2018, DIFFENDERFER executed the Backdated Agreement as she

  was induced on false and inappropriate grounds to agree to restrictions on her ability to possess,

  use and disclose her own information, relationships, contacts, and intellectual property, and

  additionally agreed not to compete with, solicit from or disparage Defendant NGD

  HOMESHARING or its “Affiliates” and principals, including without limitation HERNANDEZ.

         339.    HERNANDEZ, on behalf of NGD HOMESHARING and as its authorized

  representative, knowingly and intentionally induced DIFFENDERFER into signing and

  backdating the Backdated Agreement through false representations and promises, specifically

  including without limitation his representations regarding payment of DIFFENDERFER’s accrued

  but unpaid “deferred compensation”.

         340.    Additionally, in order to induce DIFFENDERFER into executing the Backdated


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  Agreement, HERNANDEZ verbally represented and promised he would be extending to

  DIFFENDERFER a formal written employment agreement upon her signing the Backdated

  Agreement.

         341.    At the time of making the representations to DIFFENDERFER, HERNANDEZ

  knew these were false as HERNANDEZ had no intention to perform as promised, and intended to

  induce DIFFENDERFER into executing the Backdated Agreement so that she would relinquish

  her rights and provide them to NGD HOMESHARING. Indeed, HERNANDEZ refused to sign a

  written employment agreement, he demoted DIFFENDERFER shortly thereafter and discharged

  DIFFENDERFER before ever paying her any of the long-promised “deferred compensation”.

         342.    DIFFENDERFER         executed    the   Backdated     Agreement      in   reliance   on

  HERNANDEZ’s false promises and misrepresentations and would not have executed the

  Backdated Agreement but for the false promises regarding extending DIFFENDERFER a written

  employment agreement.

         343.    As a direct and proximate result of being induced to execute the Backdated

  Agreement, DIFFENDERFER has been damaged.

         344.    Due to HERNANDEZ’s fraud and misconduct worked upon DIFFENDERFER,

  rescission of the Backdated Agreement is appropriate.

         345.    NGD HOMESHARING is on notice that DIFFENDERFER has rescinded the

  Backdated Agreement.

         346.    DIFFENDERFER has no adequate remedy at all.

         WHEREFORE, Plaintiff, CINDY DIFFENDERFER requests entry of a judgment of

  rescission of the Backdated Agreement, costs of suit and such other and further relief as this Court

  deems just and proper.



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                                 COUNT XV:
   DECLARATORY JUDGMENT DECLARING RESTRICTIVE COVENANTS IN THE
  2017 OPERATING AGREEMENT UNENFORCEABLE AGAINST DIFFENDERFER AS
    BEING TOO FAR-REACHING IN BREADTH, DURATION AND LOCATION AND
          NOT REASONABLY DESIGNED TO PROTECT DEFENDANT NGD
              HOMESHARING’S LEGITIMATE BUSINESS INTEREST
                       -Against NGD HOMESHARING-

         347.    Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained

  in Paragraphs 1-207 as though fully set forth herein.

         348.    This is an action for declaratory relief pursuant to 28 U.S.C. §2201-2202, the

  Declaratory Judgment Act, and applicable law, including Fla. Stat. §§ 542.335 and 542.18,

  regarding the reasonableness and enforceability of the Restrictive Covenants in the 2017 Operating

  Agreement, particularly in light of the facts and circumstances surrounding DIFFENDERFER’s

  execution of that document.

         349.    DIFFENDERFER remains a member of Defendant NGD HOMESHARING and

  does not intend to renounce her membership interest.

         350.    Pursuant to the broad terms of the Restrictive Covenants in the 2017 Operating

  Agreement, for so long as DIFFENDERFER is a member of Defendant, NGD HOMESHARING,

  the Restricted Covenants prohibit her from engaging “in any business, activity, enterprise or

  venture that conducts activities or provides products or services of the type conducted, offered or

  provided” by Defendant, NGD HOMESHARING.

         351.    Following her termination by Defendant, NGD HOMESHARING in February

  2019, DIFFENDERFER seeks employment with a real estate development entity with projects

  throughout the United States, and whose business activities may be, or may become, similar to that

  of Defendant, NGD HOMESHARING as those ambiguous and broadly defined business activities




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  are not specified in the 2017 Operating Agreement and as they are subject to change from “time

  to time”.

         352.   In their current iteration, the Restrictive Covenants prohibit her from engaging in

  any business in the same “business” as Defendant NGD HOMESHARING in perpetuity for as

  long as DIFFENDERFER remains a member of Defendant NGD HOMESHARING.

         353.   The Restrictive Covenants do not protect a legally protectable interest but are

  intended solely to prohibit or diminish competition and preclude DIFFENDERFER’s employment

  in the same field or industry as Defendant, NGD HOMESHARING.

         354.   On information and belief, in multiple instances, corporate governance documents,

  restrictive covenant agreements, and oral permission and/or “side letters” excusing compliance

  with same have been the product of conflict of interest transactions in which various employees,

  contractors, principals and/or investors of Defendant, NGD HOMESHARING have been excused

  from compliance with the Restrictive Covenants and no effort to enforce the Restrictive Covenants

  against them has been attempted.

         355.   Conversely, in an unambiguous and express manner, in May 2019, through its

  representatives, including its Chief Financial Officer and General Counsel, Defendant NGD

  HOMESHARING expressed to DIFFENDERFER that it fully intended to enforce the Restrictive

  Covenants against her in perpetuity should she seek employment in Defendant NGD

  HOMESHARING’s business, as the same may be defined and/or change from time to time, for so

  long as she remains a member of NGD HOMESHARING, indicating that NGD HOMESHARING

  would litigate against DIFFENDERFER if she sought employment in violation of any of the

  covenants.




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            356.   There is a bona fide dispute between the parties as to the reasonableness of the

  limitations in the Restrictive Covenants and their enforceability as to DIFFENDERFER, especially

  in light of Defendant NGD HOMESHARING’s selective enforcement of the restrictions, express

  waivers for favored employees, principals and investors, and the lack of protectable business

  interest.

            357.   DIFFENDERFER has a justiciable question as to her rights and obligations under

  the Restrictive Covenants, and in particular, her rights to seek employment in the same field or

  industry as Defendant NGD HOMESHARING.

            358.   DIFFENDERFER is in doubt regarding her rights and obligations under the

  Restrictive Covenants, and its enforceability.

            359.   There is a bona fide, actual, present need for a judicial declaration regarding (a) the

  reasonableness of the time and place limitations in the Restrictive Covenants, (b) the enforceability

  of   the     Restrictive   Covenants     against    DIFFENDERFER           given    Defendant     NGD

  HOMESHARING’s selective enforcement and absence of a protectable business interest; and (c)

  the parties respective rights and obligations, if any, under the Restrictive Covenants.

            360.   All persons who have an interest in the outcome of this proceeding are parties

  herein.

            WHEREFORE, Plaintiff, CINDY DIFFENDERFER requests this Court (a) declare the

  parties’ respective rights and obligations under the Restrictive Covenants in the 2017 Operating

  Agreement, and in particular; (b) declare whether the Restrictive Covenants are enforceable, and

  if not, declare them void as to DIFFENDERFER; (c) if the Restrictive Covenants are enforceable,

  declare whether the time and place restrictions in the Restrictive Covenants are reasonable, and if

  not, impose modifications as are appropriate; (d) enjoin enforcement the Restrictive Covenants, or



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  any portion thereof, in a manner that is inconsistent with the Court’s declarations as to validity,

  reasonableness and scope, and (e) grant such other and further relief as this Court deems

  appropriate, and award DIFFENDERFER her costs in connection with this proceeding.

                                COUNT XVI:
   DECLARATORY JUDGMENT DECLARING RESTRICTIVE COVENANTS IN THE
  2019 OPERATING AGREEMENT UNENFORCEABLE AGAINST DIFFENDERFER AS
    BEING TOO FAR-REACHING IN BREADTH, DURATION AND LOCATION AND
          NOT REASONABLY DESIGNED TO PROTECT DEFENDANT NGD
              HOMESHARING’S LEGITIMATE BUSINESS INTEREST
                       -Against NGD HOMESHARING-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         361.    This is an action for declaratory relief pursuant to 28 U.S.C. §2201-2202, the

  Declaratory Judgment Act, and applicable law, including Fla. Stat. §§ 542.335 and 542.18,

  regarding the reasonableness and enforceability of the Restrictive Covenants in the 2019 Operating

  Agreement, particularly in light of DIFFENDERFER’s refusal to execute that document and

  HERNANDEZ’s removal of any place for her to sign it.

         362.    DIFFENDERFER remains a member of Defendant, NGD HOMESHARING and

  does not intend to renounce her membership interest.

         363.    Pursuant to the broad terms of the Restrictive Covenants in the 2019 Operating

  Agreement, for so long as DIFFENDERFER is a member of Defendant, NGD HOMESHARING,

  the Restricted Covenants prohibit her from engaging “in any business, activity, enterprise or

  venture that conducts activities or provides products or services of the type conducted, offered or

  provided” by Defendant NGD HOMESHARING.

         364.    Following her termination by Defendant, NGD HOMESHARING in February

  2019, DIFFENDERFER seeks employment with a real estate development entity with projects



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  throughout the United States, and whose business activities may be, or may become, similar to that

  of Defendant, NGD HOMESHARING as those ambiguous and broadly defined business activities

  are not specified in the 2019 Operating Agreement and as they are subject to change from “time

  to time”.

         365.    In their current iteration, the Restrictive Covenants prohibit her from engaging in

  any business in the same “business” as Defendant, NGD HOMESHARING in perpetuity for as

  long as DIFFENDERFER remains a member of Defendant, NGD HOMESHARING.

         366.    The Restrictive Covenants do not protect a legally protectable interest but are

  intended solely to prohibit or diminish competition and preclude DIFFENDERFER’s employment

  in the same field or industry as Defendant NGD HOMESHARING.

         367.    On information and belief, in multiple instances, corporate governance documents,

  restrictive covenant agreements, and oral permission and/or “side letters” excusing compliance

  with same have been the product of conflict of interest transactions in which various employees,

  contractors, principals and/or investors of Defendant NGD HOMESHARING have been excused

  from compliance with the Restrictive Covenants and no effort to enforce the Restrictive Covenants

  against them has been attempted.

         368.    Conversely, in an unambiguous and express manner, in May 2019, through its

  representatives, including its Chief Financial Officer and General Counsel, Defendant NGD

  HOMESHARING expressed to DIFFENDERFER that it fully intended to enforce the Restrictive

  Covenants against her in perpetuity should she seek employment in Defendant, NGD

  HOMESHARING’s business, as the same may be defined and/or change from time to time, for so

  long as she remains a member of NGD HOMESHARING, indicating that NGD HOMESHARING




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  would litigate against DIFFENDERFER if she sought employment in violation of any of the

  covenants.

            369.   There is a bona fide dispute between the parties as to the reasonableness of the

  limitations in the Restrictive Covenants and their enforceability as to DIFFENDERFER, especially

  in light of Defendant NGD HOMESHARING’s selective enforcement of the restrictions, express

  waivers for favored employees, principals and investors, and the lack of protectable business

  interest.

            370.   DIFFENDERFER has a justiciable question as to her rights and obligations under

  the Restrictive Covenants, and in particular, her rights to seek employment in the same field or

  industry as Defendant, NGD HOMESHARING.

            371.   DIFFENDERFER is in doubt regarding her rights and obligations under the

  Restrictive Covenants, and its enforceability.

            372.   There is a bona fide, actual, present need for a judicial declaration regarding (a) the

  reasonableness of the time and place limitations in the Restrictive Covenants, (b) the enforceability

  of   the     Restrictive   Covenants     against    DIFFENDERFER           given    Defendant     NGD

  HOMESHARING’s selective enforcement and absence of a protectable business interest; and (c)

  the parties respective rights and obligations, if any, under the Restrictive Covenants.

            373.   All persons who have an interest in the outcome of this proceeding are parties

  herein.

            WHEREFORE, Plaintiff, CINDY DIFFENDERFER requests this Court (a) declare the

  parties’ respective rights and obligations under the Restrictive Covenants in the 2019 Operating

  Agreement, and in particular; (b) declare whether the Restrictive Covenants are enforceable, and

  if not, declare them void as to DIFFENDERFER; (c) if the Restrictive Covenants are enforceable,



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  declare whether the time and place restrictions in the Restrictive Covenants are reasonable, and if

  not, impose modifications as are appropriate; (d) enjoin enforcement the Restrictive Covenants, or

  any portion thereof, in a manner that is inconsistent with the Court’s declarations as to validity,

  reasonableness and scope; and (e) grant such other and further relief as this Court deems

  appropriate, and award DIFFENDERFER her costs in connection with this proceeding.

                               COUNT XVII:
    DECLARATORY JUDGMENT DECLARING RESTRICTIVE COVENANTS IN THE
    BACKDATED AGREEMENT UNENFORCEABLE AGAINST DIFFENDERFER AS
    BEING TOO FAR-REACHING IN BREADTH, DURATION AND LOCATION AND
         NOT REASONABLY DESIGNED TO PROTECT DEFENDANT NGD
             HOMESHARING’S LEGITIMATE BUSINESS INTEREST
                      -Against NGD HOMESHARING-

         Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

         374.      This is an action for declaratory relief, brought in the alternative should the

  Backdated Agreement not be rescinded, pursuant to 28 U.S.C. §2201-2202, the Declaratory

  Judgment Act, and applicable law, including Fla. Stat. §§ 542.335 and 542.18, regarding the

  reasonableness and enforceability of the restrictive covenants in the Backdated Agreement,

  particularly in light of the facts and circumstances surrounding DIFFENDERFER’s execution of

  that document.

         375.      DIFFENDERFER is a former misclassified employee of Defendant NGD

  HOMESHARING, having been terminated from her employment on February 19, 2019.

         376.      Pursuant to the broad terms of the restrictive covenants in the Backdated

  Agreement, even following termination of her employment with Defendant NGD

  HOMESHARING the restrictive covenants continue to prohibit her from certain activities, as

  follows:



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              3. Non-Disclosure of Confidential Information. Consultant will not,
              while employed and retained by Company and at any time after the
              date of termination of employment and retention with Company,
              communicate, divulge or transmit any Confidential Information
              or other proprietary information, knowledge, or data of or
              relating to Company, or any part thereof, directly or indirectly,
              to any other person or business or to any non-Company email,
              except as may be necessary in the normal course of performing
              his/her duties for Company or with the written permission of
              Company. Consultant further agrees not to improperly use or
              disclose any confidential information or trade secrets, if any, of any
              former Company or any other person or entity to whom Consultant
              has an obligation of confidentiality.

              4. Intellectual Property Rights. All inventions, works, content,
              source     code,     modifications,   alterations,    enhancements,
              improvements, ideas, or discoveries created in whole or in part by
              Consultant within the scope of or in connection with his/her
              employment and retention or affiliation with the Company or
              Consultant's access to Confidential Information (collectively
              "Works") shall be the sole and exclusive property of the Company
              and are considered a "work made for hire" for the purposes of the
              Company's rights under copyright and other laws. To the extent that
              any Work does not constitute or may not be considered a "work
              made for hire," Consultant hereby assigns to the Company all right,
              title, and interest in and to such Work. Consultant shall take all
              necessary steps, whether during or at any time after employment
              and retention: (a) to execute all documents as required by the
              Company, in its sole discretion, to evidence assignment of any
              Work, and (b) to assist the Company in registering, prosecuting,
              perfecting, protecting, maintaining and enforcing any and all patent,
              copyright, trademark, trade secret, or other right or interest in any
              Work for any and all countries. If any Work is based upon, or is
              incorporated into or is an improvement or derivative of, or cannot
              reasonably be made, used, reproduced and/or distributed without
              using or violating technology or rights owned or licensed by the
              Company and not acquired or assigned hereunder, Consultant shall
              grant the Company a perpetual, worldwide, royalty free, non-
              exclusive, and sub-licensable right and license to exploit and
              exercise all such technology and rights in support of the Company's
              exercise or exploitation of any such assigned Work (s) (including
              any modifications, improvements and derivatives thereof).

              6. Non-Solicitation of Business Relationships. Consultant shall not,
              during Consultant's employment and retention and for a period of
              twelve (12) consecutive months following separation of


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                 employment and retention with Company for whatever reason,
                 solicit, divert, perform work for, or take away any current or
                 prospective customers, clients or business relations of Company
                 (regardless of where located) whom Consultant called upon,
                 solicited, worked with, or became acquainted with during the
                 course of his/her employment and retention with Company.
                 However, this restriction shall not prohibit Consultant from calling
                 upon, soliciting, or working with any current or prospective
                 customer, client or business relation with whom Consultant called
                 upon, solicited, worked with prior to beginning employment and
                 retention with Company. Further, it shall not be a violation of this
                 provision if, without solicitation by Consultant, a former customer
                 of Company becomes a customer at a property where Consultant is
                 subsequently employed or retained to consult.

                 (emphasis added).

         377.    Following her termination by Defendant, NGD HOMESHARING in February

  2019, DIFFENDERFER seeks employment with a real estate development entity with projects

  throughout the United States, and whose business activities may be, or may become, similar to that

  of Defendant, NGD HOMESHARING. This may require DIFFENDERFER to call on contacts she

  has in the industry including prospective customers, clients, business relations she became

  acquainted with during the term of her misclassified employment with NGD HOMESHARING.

  This may also require DIFFENDERFER to indirectly use, transmit or communicate general data,

  knowledge and information she has regarding the broadly defined industry and business activities

  she engaged in during her employment with NGD HOMESHARING, much of which she herself

  created and was her brainchild.

         378.    In their current iteration, the restrictive covenants purport to prohibit her from

  engaging in any of the foregoing activities.

         379.    The restrictive covenants do not protect a legally protectable interest but are

  intended solely to prohibit or diminish competition and preclude DIFFENDERFER’s employment

  in the same field or industry as Defendant, NGD HOMESHARING.


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          380.   On information and belief, in multiple instances, corporate governance documents,

  restrictive covenant agreements, and oral permission and/or “side letters” excusing compliance

  with same have been the product of conflict of interest transactions in which various employees,

  contractors, principals and/or investors of Defendant, NGD HOMESHARING have been excused

  from compliance with such restrictive covenants and no effort to enforce the restrictive covenants

  against them has been attempted.

          381.   Conversely, in an unambiguous and express manner, in May 2019, through its

  representatives, including its Chief Financial Officer and General Counsel, Defendant, NGD

  HOMESHARING expressed to DIFFENDERFER that it fully intended to enforce restrictive

  covenants against her should she seek employment in Defendant, NGD HOMESHARING’s

  industry, indicating that NGD HOMESHARING would litigate against DIFFENDERFER if she

  sought employment in violation of any of the covenants.

          382.   There is a bona fide dispute between the parties as to the reasonableness of the

  limitations in the restrictive covenants and their enforceability as to DIFFENDERFER, especially

  in light of Defendant, NGD HOMESHARING’s selective enforcement of the restrictions, express

  waivers for favored employees, principals and investors, and the lack of protectable business

  interest.

          383.   DIFFENDERFER has a justiciable question as to her rights and obligations under

  the restrictive covenants, and in particular, her rights to seek employment in the same field or

  industry as Defendant, NGD HOMESHARING.

          384.   DIFFENDERFER is in doubt regarding her rights and obligations under the

  restrictive covenants, and its enforceability.

          385.   There is a bona fide, actual, present need for a judicial declaration regarding (a) the



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  reasonableness of the scope, time and place limitations in the restrictive covenants, (b) the

  enforceability of the restrictive covenants against DIFFENDERFER given Defendant NGD

  HOMESHARING’s selective enforcement and absence of a protectable business interest; and (c)

  the parties respective rights and obligations, if any, under the restrictive covenants.

            386.   All persons who have an interest in the outcome of this proceeding are parties

  herein.

            WHEREFORE, Plaintiff, CINDY DIFFENDERFER requests this Court (a) declare the

  parties’ respective rights and obligations under the restrictive covenants in the Backdated

  Agreement, and in particular; (b) declare whether the restrictive covenants are enforceable, and if

  not, declare them void as to DIFFENDERFER; (c) if the restrictive covenants are enforceable,

  declare whether the time and place restrictions in the restrictive covenants are reasonable, and if

  not, impose modifications as are appropriate; (d) enjoin enforcement the restrictive covenants, or

  any portion thereof, in a manner that is inconsistent with the Court’s declarations as to validity,

  reasonableness and scope; and (e) grant such other and further relief as this Court deems

  appropriate, and award DIFFENDERFER her costs in connection with this proceeding.

                              COUNT XVIII:
  TORTIOUS INTERFERENCE WITH ADVANTAGEOUS BUSINESS RELATIONSHIPS
                      -Against NGD HOMESHARING-

            Plaintiff, DIFFENDERFER adopts, restates and reasserts the allegations contained in

  Paragraphs 1-207 as though fully set forth herein.

            387.   At all times material hereto, Plaintiff DIFFENDERFER possessed, and continues

  to possess, numerous advantageous business relationships in the real estate development industry

  and the internet and app-based innovation and design sector, which is the primary reason she was

  initially engaged by HERNANDEZ to develop and refine the Venture, making NGD



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  HOMESHARING what it is today. Accordingly, Defendant, NGD HOMESHARING has

  knowledge of these advantageous relationships that DIFFENDERFER possesses.

         388.    DIFFENDERFER has legal rights to benefit and profit from her advantageous

  business relationships in Defendant, NGD HOMESHRING’s industry and to obtain gainful

  employment in her chosen professional field as a result of these long-standing relationships.

         389.    By Defendant, NGD HOMESHARING’s representatives, including its General

  Counsel Stamm, unequivocally stating in May 2019 that NGD HOMESHARING intends to

  enforce and will enforce, including by way of litigation, the Restrictive Covenants in the 2017 and

  2019 Operating Agreements and the restrictive covenants in the Backdated Agreement against

  DIFFENDERFER, in perpetuity, should she choose to seek employment in NGD

  HOMESHARING’s industry, which is subject to change from time to time, Defendant NGD

  HOMESHARING has intentionally and unjustifiably interfered with DIFFENDERFER’s rights to

  benefit and profit from her advantageous business relationships of which NGD HOMESHARING

  has knowledge.

         390.    Defendant, NGD HOMESHARING’s conduct is unjustified because no legitimate

  or protectable business interests is protected by the threat of enforcing such covenants, particularly

  as NGD HOMESHARING has released, waived and acquiesced to other executives engaging in

  the identical conduct and activity it seeks to prevent DIFFENDERFER from engaging in.

         391.    As a direct and proximate result of Defendant NGD HOMESHARING’s unjustified

  interference, Plaintiff has been damaged and continues to suffer damages.

         WHEREFORE, Plaintiff, CINDY DIFFENDERFER requests judgment against Defendant

  NGD HOMESHARING for damages, including special damages, and enjoining Defendant’s

  selective enforcement of the unenforceable and unreasonable Restrictive Covenants in the 2017



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  and 2019 Operating Agreements and in the Backdated Agreement, together with prejudgment

  interest, costs of suit, and for such other and further relief as this Court deems just and equitable.

                                   DEMAND FOR JURY TRIAL

  DIFFENDERFER demands trial by jury for all claims so triable.

         Respectfully submitted on this 2nd day of August, 2019.

                                                     DAVIS GOLDMAN, PLLC
                                                     Counsel for Plaintiff
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                                                     By:         s/Jason N. Goldman         n
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                                                           AARON P. DAVIS
                                                            Fla. Bar No. 58463




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